                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 1 of 70 Page ID #:434




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F L E X N E R




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S C H I L L E R




                   12
                   13                 UNITED STATES DISTRICT COURT
                   14        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                   15 BROIDY CAPITAL MANAGEMENT
B O I E S




                                                                  Case No. 18-cv-02421-JFW
                   16 LLC and ELLIOTT BROIDY,
                   17              Plaintiffs,                    FIRST AMENDED COMPLAINT
                   18        v.                                   AND DEMAND FOR JURY TRIAL
                   19 STATE OF QATAR, STONINGTON                  The Honorable John F. Walter
                   20 STRATEGIES LLC, NICOLAS D.
                      MUZIN, GLOBAL RISK ADVISORS
                   21 LLC, KEVIN CHALKER, DAVID
                   22 MARK POWELL, MOHAMMED BIN
                      HAMAD BIN KHALIFA AL THANI,
                   23
                      AHMED AL-RUMAIHI, and DOES 1-
                   24 10,
                   25
                                   Defendants.
                   26
                   27
                   28
                                                                                     Case No. 18-cv-02421-JFW
                                                       FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 2 of 70 Page ID #:435




                    1         Plaintiffs Broidy Capital Management LLC (“BCM”) and Elliott
                    2 Broidy (“Broidy”), by and through their attorneys Boies Schiller Flexner LLP,
                    3 bring this action seeking injunctive relief and monetary damages against
                    4 Defendants the State of Qatar, Stonington Strategies LLC (“Stonington”),
                    5 Nicolas D. Muzin (“Muzin”), Global Risk Advisors LLC (“GRA”), Kevin
                    6 Chalker (“Chalker”), David Mark Powell (“Powell,” and together with
                    7 Chalker and GRA the “GRA Defendants”), Mohammed bin Hamad bin
L L P




                    8 Khalifa al Thani (“Al Thani”), Ahmed al-Rumaihi (“Al-Rumaihi,” and
F L E X N E R




                    9 together with al Thani and the State of Qatar, the “Qatari Defendants”), and
                   10 Does 1-10, for Defendants’ unlawful conduct, as set forth below.1
                   11                          NATURE OF THE ACTION
S C H I L L E R




                   12         1.    This case presents the issue of whether a nation state can
                   13 orchestrate and execute a criminal conspiracy directed against a United States
                   14 citizen on United States soil and then invoke sovereign immunity to avoid
                   15 liability, accountability and exposure.
B O I E S




                   16         2.    Defendant State of Qatar reacted after neighboring Middle
                   17 Eastern countries sanctioned, embargoed and isolated Qatar commercially and
                   18 diplomatically in June 2017 for its support of terrorist organizations, and after
                   19 Qatar’s subsequent shunning by President Trump, by launching a wide-
                   20 ranging and extremely well-resourced effort to influence public opinion in the
                   21 United States. Defendants Al Thani and Al-Rumaihi, a Qatari operative
                   22 present in the United States, were the architect of these efforts, which included
                   23 (among other things) initiatives to attack and discredit those who had spoken
                   24
                   25
                   26
                        1
                       The GRA Defendants, Does 1-10 and Defendants Muzin, Stonington and Al-
                   27 Rumaihi, are sometimes referred to herein as the “Agent Defendants.”
                   28                                       -- 2 --             Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 3 of 70 Page ID #:436




                    1 out against Qatar, and – according to court documents – efforts to bribe
                    2 individuals close to President Trump.
                    3        3.     Defendant State of Qatar (which as a principal is bound by the
                    4 actions and knowledge of its agents) hired numerous United States agents at a
                    5 cost of millions of dollars, including by entering into specific agreements with
                    6 those agents for those agents to provide public relations, consultancy, and
                    7 related services. Some of those agents disclosed their work for Qatar by
L L P




                    8 making filings pursuant to the Foreign Agents Registration Act (such as
F L E X N E R




                    9 Defendants Stonington and Muzin) while others worked secretly for the State
                   10 of Qatar and did not make filings (such as Joseph (“Joey”) Allaham and the
                   11 GRA Defendants).
S C H I L L E R




                   12        4.     In late 2017, the whitewashing campaign organized by Al Thani
                   13 and Al-Rumaihi – on behalf of and with the knowledge of and agreement to
                   14 by Defendant State of Qatar – was encountering serious problems and targeted
                   15 Plaintiff Broidy. Plaintiff Broidy’s public and private actions and statements
B O I E S




                   16 stood in the way of the State of Qatar’s aggressive public relations and
                   17 governmental relations efforts that sought to ingratiate Qatar with the new
                   18 Trump Administration and to deflect attention from Qatar’s record of
                   19 supporting terrorist organizations.
                   20        5.     On information and belief, Defendant Chalker is a former CIA
                   21 cyber-operative who runs GRA, which is headquartered in New York, New
                   22 York. On information and belief, Defendant Powell is a former British
                   23 intelligence operative who runs GRA operations out of Qatar and established
                   24 GRA’s office there through a Gibraltar subsidiary in October 2017 – just
                   25 weeks prior to the commencement of the attack on Plaintiffs.
                   26        6.     On information and belief, the Qatari Defendants retained and
                   27 used the GRA Defendants to coordinate and implement the hack, and the
                   28                                       -- 3 --            Case No. 18-cv-02421-JFW
                                                 FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 4 of 70 Page ID #:437




                    1 GRA Defendants also personally supervised aspects of the information
                    2 operation against Plaintiffs.
                    3         7.    On information and belief, the GRA Defendants introduced
                    4 Defendant State of Qatar to cyber mercenaries in various countries to
                    5 coordinate technical aspects of the illegal intrusion into Plaintiffs’ email
                    6 server in Los Angeles and Google LLC’s server(s) in California, and the
                    7 dissemination of the contents to U.S. news organizations, including
L L P




                    8 individuals or groups associated with known mercenary cyber threat actors.
F L E X N E R




                    9 On information and belief, the individuals and entities identified by the GRA
                   10 Defendants and used by the Qatari Defendants to attack Plaintiffs are:
                   11 Omniscope Limited, a U.K. security and intelligence firm; a naturalized
S C H I L L E R




                   12 Israeli citizen with a history of criminal activity; a retired Moroccan diplomat;
                   13 and a London-based strategic intelligence firm with offices in the United
                   14 States.
                   15         8.    On information and belief, the Agent Defendants all participated
B O I E S




                   16 in the strategic planning for and execution of the attacks.
                   17         9.    On information and belief, Defendant Muzin’s company
                   18 (Defendant Stonington) conspired with the other Defendants from within the
                   19 United States to organize and disseminate Plaintiffs’ stolen emails to media
                   20 organizations. Significantly, Defendant Muzin exhibited inside knowledge of
                   21 the attacks on Plaintiffs, and disclosed foreknowledge of future attacks to at
                   22 least one other potential victim to warn him against taking public positions
                   23 adverse to the State of Qatar. On information and belief, Defendant Muzin’s
                   24 company (Defendant Stonington) was among the vehicles used by the State of
                   25 Qatar to funnel funds to others involved in the attack.
                   26
                   27
                   28                                        -- 4 --            Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 5 of 70 Page ID #:438




                    1        10.    Defendant Muzin has admitted his culpability. Because of
                    2 Muzin’s status as its registered foreign agent, Muzin’s admission also binds
                    3 Defendant the State of Qatar.
                    4        11.    On March 5, 2018, Defendant Muzin told Joel Mowbray, a
                    5 business associate of Plaintiff Broidy and a critic of both the State of Qatar
                    6 and of Muzin, that there was “more stuff coming” from the New York Times.
                    7 Indeed, there was: the New York Times published stories based on Plaintiffs’
L L P




                    8 stolen emails on March 22 and 26, 2018. In that same meeting, Muzin
F L E X N E R




                    9 discussed meetings he had with his client the State of Qatar while serving as
                   10 its registered agent. Muzin told Mowbray: “Broidy’s name comes up in
                   11 Embassy meetings often” and “I definitely identified him as somebody who,
S C H I L L E R




                   12 was not, didn’t like them too much.” Muzin further acknowledged that
                   13 everyone he “fingered” was “in danger.” He warned Mowbray that
                   14 Mowbray and Plaintiff Broidy needed “to be very careful,” that the State of
                   15 Qatar is “going after you,” and that “Honestly, I know they’re after you
B O I E S




                   16 and Broidy.”
                   17        12.      At that meeting, Muzin tried to persuade Mowbray that the
                   18 blame for the hacks on Plaintiffs and attempted hacks on Mowbray and
                   19 subsequent media leaks should fall on Muzin’s principal (the State of Qatar)
                   20 and not Muzin because “I was doing my job.” Muzin was aware that the
                   21 State of Qatar utilized computer hacking as one of its cyber-weapons and
                   22 even admitted to Mowbray that he was “positive” that he himself had
                   23 been hacked by the Qataris. Muzin’s admissions to Mowbray inculpate
                   24 both Muzin and his principal and co-conspirator the State of Qatar, since
                   25 Muzin admitted that he and his principal orchestrated and participated in the
                   26 scheme to harm Plaintiffs by hacking and disseminating their computer
                   27 systems and information.
                   28                                       -- 5 --             Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 6 of 70 Page ID #:439




                    1         13.   Somewhat belatedly, recognizing that he had admitted his
                    2 culpability and that of the State of Qatar to Mowbray, Muzin stated that he
                    3 realized that he needed “to be a little more careful” when he spoke to
                    4 Mowbray.
                    5         14.   Defendants’ unlawful activity was directed toward the United
                    6 States and much of that activity occurred within the United States, including
                    7 the formation of the conspiracy in the United States during meetings in
L L P




                    8 Washington, D.C. The participants in these meetings were not engaged in
F L E X N E R




                    9 activities related to Qatar’s discretionary foreign policy, but instead were
                   10 conspiring to violate United States criminal and civil laws by targeting a
                   11 United States citizen for retribution because he had exercised his First
S C H I L L E R




                   12 Amendment right to speak out publicly and privately to United States
                   13 government officials against the State of Qatar’s support for terrorist
                   14 organizations.
                   15         15.   The hack, and the resulting unlawful access to Plaintiffs’ private
B O I E S




                   16 communications, documents, trade secrets and intellectual property, occurred
                   17 in the United States. Defendants conspired to design, coordinate and execute
                   18 an unlawful spearphishing campaign against several U.S. persons affiliated
                   19 with Plaintiff Broidy that included the following: spoofing or otherwise
                   20 obfuscating U.S.-assigned phone numbers to deceive several persons in the
                   21 United States into providing their email login credentials; misappropriating
                   22 the trademarks of U.S. companies such as Google LLC, a subsidiary of
                   23 Alphabet, Inc; fraudulently registering online website domains in the United
                   24 States; stealing email and online account login credentials for several U.S.
                   25 persons; illegally intruding into Plaintiffs’ email server in Los Angeles as well
                   26 as California servers of U.S.-based Google; stealing emails from those U.S.-
                   27 based servers; and then printing collections of Plaintiffs’ stolen electronic files
                   28                                        -- 6 --             Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 7 of 70 Page ID #:440




                    1 from within North America, sorting them by topic, and delivering them (in
                    2 some cases by hand) to news organizations in the United States, knowing that
                    3 the news organizations would publish the stolen emails under the cloak of the
                    4 First Amendment – all for the purpose of discrediting Plaintiff Broidy in the
                    5 United States and interfering with his business relationships. Defendants’
                    6 efforts to target Plaintiff Broidy in this manner have been largely successful:
                    7 several media organizations published articles (including front page stories in
L L P




                    8 the March 22 and 26, 2018 editions of the New York Times, a March 26, 2018
F L E X N E R




                    9 story by the Associated Press, a story in the March 1, 2018 edition of the Wall
                   10 Street Journal, and additional articles in The Huffington Post, McClatchy,
                   11 Esquire, The Intercept and Bloomberg News, which stories were reprinted or
S C H I L L E R




                   12 summarized by numerous other news outlets). As recently as May 21, 2018,
                   13 the Associated Press published a story based on the hacked materials. In some
                   14 instances, these news organizations have acknowledged that those articles
                   15 were based on information they received from sources who boasted that the
B O I E S




                   16 materials were hacked from Plaintiffs’ computers.
                   17         16.   As a result of Defendants’ actions, Plaintiffs, and in particular
                   18 Plaintiff Broidy, have been harmed, and will continue to be harmed.
                   19                                     PARTIES
                   20         17.   Plaintiff Broidy Capital Management LLC is an investment firm
                   21 run by Plaintiff Elliott Broidy. BCM is a corporation duly organized under
                   22 the laws of the State of California with its principal place of business in Los
                   23 Angeles, California.
                   24         18.   Plaintiff Elliott Broidy is a citizen of the United States and the
                   25 State of California who resides in Los Angeles, California. He is the Chief
                   26 Executive Officer and Chairman of BCM.
                   27
                   28                                       -- 7 --             Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 8 of 70 Page ID #:441




                    1        19.    Defendant the State of Qatar is a foreign state. The head of state
                    2 and head of government of Qatar is the current Emir of Qatar, Sheikh Tamim
                    3 bin Hamad Al Thani. The Emir has made visits to Los Angeles, California
                    4 and has hosted the Mayor of Los Angeles, Eric Garcetti, in Doha, the capital
                    5 of Qatar, as part of an effort to strengthen the partnership between the cities of
                    6 Los Angeles and Doha. Additionally, the State of Qatar maintains a
                    7 Consulate in Los Angeles, California.
L L P




                    8        20.    Defendant Stonington Strategies LLC is a public relations and
F L E X N E R




                    9 lobbying firm incorporated under the laws of Delaware. Upon information
                   10 and belief, Stonington’s principal place of business is in New York, New
                   11 York. Stonington registered on September 3, 2017 under the Foreign Agents
S C H I L L E R




                   12 Registration Act (“FARA”), 22 U.S.C. § 611 et seq., as a foreign agent
                   13 providing “strategic communications” for the State of Qatar. Stonington
                   14 originally was retained to provide these services for $50,000 per month. On
                   15 November 1, 2017, shortly before the hacks on Plaintiff’s computers began,
B O I E S




                   16 Defendant the State of Qatar increased the amount by a factor of six – to
                   17 $300,000 per month.
                   18        21.    Defendant Nicolas D. Muzin is the Chief Executive Officer of
                   19 Stonington and a political lobbyist who signed the FARA documents on
                   20 behalf of Stonington as a registered foreign agent of the State of Qatar. He is
                   21 a graduate of Yale Law School and a high-level Republican political
                   22 operative. Muzin served as chief of staff to then-Congressman (now Senator)
                   23 Tim Scott and served as deputy chief of staff for strategy to Senator Ted Cruz.
                   24 According to his biography on the Stonington website, Muzin also worked on
                   25 the Trump Presidential campaign as well as on the transition team to recruit
                   26 candidates for the new Administration. Shortly after the inauguration of
                   27 President Donald J. Trump, Muzin began working as a lobbyist, first
                   28                                       -- 8 --             Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 9 of 70 Page ID #:442




                    1 registering as a FARA agent for the Democratic Party of Albania in March
                    2 2017. On August 24, 2017, he was retained by the State of Qatar for
                    3 “consulting services.” More recently, on May 14, 2018, Muzin was
                    4 photographed at the opening of the United States Embassy in Jerusalem with
                    5 Senator Cruz and White House aide Victoria Coates, the Senior Director for
                    6 International Negotiations on the National Security Council and a former aide
                    7 to Senator Cruz. Defendant Muzin is a citizen of the United States and a
L L P




                    8 resident of the state of Maryland. On information and belief, Muzin has
F L E X N E R




                    9 frequently traveled to California for business and political purposes during
                   10 recent years.
                   11         22.     Defendant Global Risk Advisors, LLC is a limited liability
S C H I L L E R




                   12 company formed under the laws of Delaware, with its primary place of
                   13 business in New York, New York. It has not registered as a FARA agent of
                   14 the State of Qatar.
                   15         23.     Defendant Kevin Chalker is the founder and Chief Executive
B O I E S




                   16 Officer of GRA. Upon information and belief, he is a citizen of the United
                   17 States and is domiciled in the state of New York. Chalker has not registered
                   18 as a FARA agent of the State of Qatar.
                   19         24. Defendant David Mark Powell is a Managing Director of GRA
                   20 and also is the Principal Agent of GRA in Qatar. On information and belief,
                   21 Powell is a citizen of the United Kingdom and is domiciled in the United
                   22 Kingdom.
                   23         25.     On October 26, 2017, only a few weeks before Defendants began
                   24 their efforts to unlawfully access Plaintiffs’ emails, documents, trade secrets
                   25 and intellectual property, GRA, acting through a wholly-owned subsidiary –
                   26 Global Risk Advisors (EMEA) Limited, a Gibraltar corporation, headed by
                   27 Defendant David Mark Powell – began to operate in Qatar.
                   28                                        -- 9 --             Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 10 of 70 Page ID #:443




                     1        26.   Defendant Mohammed bin Hamad bin Khalifa Al Thani, who
                     2 received his degrees from Georgetown and Harvard, is a brother of the Emir
                     3 of Qatar. According to articles in Sports Illustrated on May 23, 2011 and The
                     4 Telegraph on March 18, 2014, Defendant Al Thani has been accused of
                     5 bribery and human rights abuses in connection with Qatar’s successful bid to
                     6 host the 2022 FIFA World Cup and the subsequent construction of the
                     7 necessary facilities, which The Guardian reported on September 25, 2013
L L P




                     8 resulted in the “exploitation and abuses” of Nepalese workers “that amount to
F L E X N E R




                     9 modern-day slavery.”
                   10         27.   On information and belief, after its neighboring Middle Eastern
                   11 countries began their quarantine of Qatar in 2017, Defendant the State of
S C H I L L E R




                   12 Qatar charged Defendant Al Thani with the task of attempting to influence
                   13 United States public opinion, and the position of the Trump Administration.
                   14 For example, as reported in Politico on May 8, 2018, the State of Qatar’s
                   15 ongoing efforts to purchase Newsmax, a conservative news outlet with ties to
B O I E S




                   16 the Trump Administration, were “overseen by Mohammed bin Hamad bin
                   17 Khalifa Al Thani, a younger brother of Qatari Emir Tamim bin Hamad Al
                   18 Thani” and “came during a mad scramble by the wealthy Gulf monarchy to
                   19 win friends and clout in the United States as it struggled to respond to a
                   20 Trump-endorsed blockade by its Arab neighbors.” On information and belief,
                   21 Al Thani also specifically directed the effort to address impediments to the
                   22 success of Qatar’s program to influence United States public opinion and the
                   23 position of the Trump Administration on the embargo, including specifically
                   24 the efforts to attack and discredit Plaintiff Broidy.
                   25         28.    Defendant Ahmed Al-Rumaihi is a citizen of the State of Qatar
                   26 and a former Qatari diplomat. In the time period beginning in April 2017 and
                   27 continuing to the present, Defendant Al-Rumaihi has not held an official
                   28                                       -- 10 --            Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 11 of 70 Page ID #:444




                     1 position in the Government of the State of Qatar (according to the State of
                     2 Qatar), but on information and belief has continued to act as an agent of the
                     3 State of Qatar. Al-Rumaihi is a resident of Qatar.
                     4        29.    On information and belief, Defendants Does 1-10 are agents of
                     5 the State of Qatar, some of whom have not registered under FARA. On
                     6 information and belief, none of Defendants Does 1-10 is a citizen or resident
                     7 of the State of California.
L L P




                     8                         JURISDICTION AND VENUE
F L E X N E R




                     9   I.   SUBJECT MATTER JURISDICTION
                   10         30.    This Court has subject matter jurisdiction over the State of Qatar
                   11 pursuant to 28 U.S.C. § 1330 and the Foreign Sovereign Immunities Act, 28
S C H I L L E R




                   12 U.S.C. § 1602 et seq., because its conduct falls within the exception to foreign
                   13 sovereign immunity set forth in 28 U.S.C. § 1605(a)(5). Multiple entire torts
                   14 as described herein occurred within the United States, and additional tortious
                   15 misconduct described herein occurred at a minimum predominately within the
B O I E S




                   16 United States.
                   17         31.    This Court also has subject matter jurisdiction over the State of
                   18 Qatar because its conduct falls within the exception to foreign sovereign
                   19 immunity set forth in 28 U.S.C. § 1605(a)(2). The State of Qatar entered into
                   20 numerous commercial contracts with persons to provide consulting, public
                   21 relations, offensive cyber and other lawful and unlawful commercial services
                   22 in order to further the State of Qatar’s public relations efforts and economic
                   23 and commercial interests, which included most significantly the lifting of a
                   24 comprehensive trade and commercial embargo on Qatar. In furtherance of
                   25 those commercial contracts, Defendants then targeted Plaintiff Broidy. Upon
                   26 information and belief, the State of Qatar engaged the GRA Defendants and
                   27 the Agent Defendants to use illegal commercial means to promote its own
                   28                                         -- 11 --             Case No. 18-cv-02421-JFW
                                                     FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 12 of 70 Page ID #:445




                     1 economic and commercial interests, including by conducting economic
                     2 espionage. These forms of commercial activity directly affected the United
                     3 States.
                     4         32.    This Court further has subject matter jurisdiction over this action
                     5 under 28 U.S.C. § 1331, and supplemental jurisdiction over Plaintiffs’ state
                     6 law claims under 28 U.S.C. § 1367. Additionally, this Court has subject
                     7 matter jurisdiction over Plaintiffs’ claims under 28 U.S.C. § 1332 because
L L P




                     8 Plaintiffs are all citizens of the state of California and, to Plaintiffs’
F L E X N E R




                     9 knowledge, none of the Defendants is a citizen of the State of California.
                   10 Accordingly, the citizenship of the parties is diverse. The amount in
                   11 controversy exceeds $75,000, exclusive of interest and costs.
S C H I L L E R




                   12    II.   PERSONAL JURISDICTION
                   13          33.    This Court has personal jurisdiction over the State of Qatar
                   14 pursuant to 28 U.S.C. § 1330 and the Foreign Sovereign Immunities Act, 28
                   15 U.S.C. § 1602 et seq., because its conduct falls within the exception to foreign
B O I E S




                   16 sovereign immunity set forth in 28 U.S.C. § 1605(a)(5) and § 1605(a)(2).
                   17          34.    Plaintiffs served the State of Qatar pursuant to 28 U.S.C.
                   18 § 1608(a).
                   19          35.    This Court has personal jurisdiction over the Agent Defendants
                   20 and the Qatari Defendants other than the State of Qatar itself under the state of
                   21 California’s long-arm statute, Cal. Civ. Proc. Code § 410.10, because they
                   22 directly or as a result of their participation in the conspiracy described herein,
                   23 targeted Plaintiffs in California and directed their tortious conduct towards
                   24 Plaintiffs in California, with knowledge and intent that Plaintiffs suffer harm
                   25 in California.
                   26
                   27
                   28                                          -- 12 --            Case No. 18-cv-02421-JFW
                                                     FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 13 of 70 Page ID #:446




                     1          36.    On information and belief, Defendant Al-Rumaihi leases
                     2 property in California, conducts substantial business in California, and has
                     3 sufficient and substantial contacts with this jurisdiction.
                     4 III.     VENUE
                     5
                                37.    Venue is proper in this judicial district under 28 U.S.C.
                     6
                         § 1391(b)(2) because a substantial part of the events or omissions giving rise
                     7
L L P




                         to this claim occurred in this judicial district, and a substantial part of property
                     8
                         that is the subject of this action is situated in this judicial district. In
F L E X N E R




                     9
                         particular, the private communications, documents, trade secrets and
                   10
                         intellectual property that was unlawfully accessed, converted, and stolen was
                   11
                         located in this district and the unlawful access to those materials necessarily
S C H I L L E R




                   12
                         took place in this district.
                   13
                                38.    Venue also is proper in this judicial district under 28 U.S.C.
                   14
                         §1391(f)(1) for the same reasons and because Defendant the State of Qatar is
                   15
B O I E S




                         a foreign state.
                   16
                                39.    Alternatively, venue is proper in this judicial district under 28
                   17
                         U.S.C. § 1391(b)(3) because there is no judicial district in a State in which all
                   18
                         non-foreign defendants are resident, and at least one Defendant is subject to
                   19
                         personal jurisdiction in California.
                   20
                                                        STATEMENT OF FACTS
                   21
                                40.    This is a case about a civil and criminal conspiracy undertaken by
                   22
                         a foreign nation on the territory of the United States against a successful,
                   23
                         influential United States citizen and his California corporation. Qatar targeted
                   24
                         Plaintiff Broidy because he spoke out forcefully and effectively against
                   25
                         Qatar’s support for terrorism, entered into significant business relationships
                   26
                         relating to defense and counterterrorism with a neighboring nation, and stood
                   27
                   28                                            -- 13 --             Case No. 18-cv-02421-JFW
                                                        FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 14 of 70 Page ID #:447




                     1 in the way of relieving commercial pressures resulting from a devastating
                     2 economic embargo. The purpose of the conspiracy targeting Broidy was to
                     3 use illegal means to diminish his influence within the United States through a
                     4 campaign to discredit him in the press and in the eyes of U.S. government
                     5 officials, and to disrupt Plaintiffs’ business relationships. The conspiracy
                     6 included the commissioned hacking of Plaintiffs’ computer networks, which
                     7 were located in the United States during the relevant timeframe, including
L L P




                     8 Plaintiffs’ email accounts, and transmission of the illicitly obtained data to the
F L E X N E R




                     9 media.
                   10    I.   INTERNATIONAL SANCTIONS WERE IMPOSED ON THE
                              STATE OF QATAR IN JUNE 2017 AS THE RESULT OF ITS
                   11         HISTORY OF SUPPORTING AND HARBORING TERRORISTS
S C H I L L E R




                   12         41.    Defendant the State of Qatar sponsors and supports terrorists,
                   13 having once been called a “Club Med for Terrorists.” Qatar has allowed and
                   14 continues to allow itself to serve as a sanctuary for terrorist leaders and
                   15 organizations, including but not limited to Al Qaeda (and its affiliates
B O I E S




                   16 including Al-Shabab and Al Qaeda in Syria, also known as Al-Nusra Front or
                   17 Jabhat Al-Nusra), Hamas, the Taliban, and the Muslim Brotherhood.
                   18         42.    Numerous individuals residing in Qatar have been sanctioned by
                   19 the United States Department of Treasury for raising funds for Al Qaeda.
                   20         43.    Individuals who serve as fundraisers for Al Qaeda’s Syrian
                   21 franchise (the Nusra Front) operate freely in Qatar. These individuals appear
                   22 at state-owned Mosques and on broadcasts aired by the state-funded Al
                   23 Jazeera. The State of Qatar has failed to shut down these fundraisers.
                   24         44.    The State of Qatar also has been accused of hosting the Somali
                   25 terrorist group Al-Shabab, an Al Qaeda affiliate.
                   26         45.    The State of Qatar also has permitted Hamas leaders to operate
                   27 freely within the country. Indeed, the State of Qatar has provided substantial
                   28                                        -- 14 --            Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 15 of 70 Page ID #:448




                     1 funding to Hamas, despite being subjected to international political and
                     2 economic sanctions for such support.
                     3        46.    The State of Qatar has further allowed the Taliban to operate and
                     4 maintain an office in Doha.
                     5        47.    The State of Qatar has given safe haven to many leaders of the
                     6 Muslim Brotherhood after their expulsion from Egypt by the Egyptian
                     7 government.
L L P




                     8        48.    On May 25, 2017, a bill (H.R. 2712) was introduced in the
F L E X N E R




                     9 United States House of Representatives titled “The Palestinian International
                   10 Terrorism Support Prevention Act of 2017.” The bill, which would have
                   11 barred assistance from the United States government to any country that aided
S C H I L L E R




                   12 Hamas, stated in its findings that “Hamas has received significant financial
                   13 and military support from Qatar.”
                   14         49.    On June 5, 2017, neighboring Middle Eastern states severed
                   15 diplomatic relations with the State of Qatar because of the State of Qatar’s
B O I E S




                   16 support for terrorism and its close ties to Iran. Other governments quickly
                   17 followed. Some countries closed their airspaces to Qatari aircraft, closed their
                   18 borders with the State of Qatar and/or banned Qatari-flagged ships from
                   19 docking at their ports. The sanctioning states issued a set of demands to the
                   20 State of Qatar including that the State of Qatar curb ties with Iran and stop
                   21 funding terrorist organizations. Those demands were rejected.
                   22         50.    President Trump denounced Qatar and sided with the efforts to
                   23 embargo Qatar, tweeting on June 6, 2017: “During my recent trip to the
                   24 Middle East I stated that there can no longer be funding of Radical Ideology.
                   25 Leaders pointed to Qatar - look!”
                   26
                   27
                   28                                      -- 15 --             Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 16 of 70 Page ID #:449




                     1        51.     On June 9, 2017, once again siding with the sanctioning states
                     2 and criticizing the more conciliatory tone of the then-Secretary of State,
                     3 President Trump stated:
                     4        The nation of Qatar, unfortunately, has historically been a funder
                              of terrorism at a very high level, and… nations came together and
                     5        spoke to me about confronting Qatar over its behavior. So we
                              had a decision to make: Do we take the easy road, or do we
                     6        finally take a hard but necessary action? We have to stop the
                              funding of terrorism. I decided, along with Secretary of State
                     7        Rex Tillerson, our great generals and military people, the time
L L P




                              had come to call on Qatar to end its funding — they have to end
                     8        that funding — and its extremist ideology in terms of funding…
                              This is my great priority because it is my first duty as President to
F L E X N E R




                     9        keep our people safe. Defeating ISIS and other terror
                              organizations is something I have emphasized all during my
                   10         campaign and right up until the present. To do that, stop funding,
                              stop teaching hate, and stop the killing. For Qatar, we want you
                   11         back among the unity of responsible nations.
S C H I L L E R




                   12         52.     Defendant State of Qatar is a nation rich in natural gas resources,
                   13 but it is reliant on food and other supplies that arrive by truck via borders that
                   14 closed as part of the embargo. The international sanctions – and the support
                   15 the President Trump expressed for them – threatened to damage Qatar’s
B O I E S




                   16 economy and plunged Qatar into crisis. The sanctioning states threatened to
                   17 expel the State of Qatar from the Gulf Cooperation Council, a regional
                   18 economic and security cooperation body made up of six nations. The
                   19 economic quarantine led to a massive drop-off in foreign investment in Qatar.
                   20 According to the International Monetary Fund, “following the rift, foreign
                   21 financing (non-resident deposits and inter-bank placements) and resident
                   22 private-sector deposits fell by about US$40 billion.”
                   23         53.     These international sanctions on the State of Qatar remain in
                   24 effect today.
                   25
                   26
                   27
                   28                                        -- 16 --             Case No. 18-cv-02421-JFW
                                                    FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 17 of 70 Page ID #:450



                         II.   THE STATE OF QATAR BEGAN A PUBLIC RELATIONS
                     1         CAMPAIGN TO IMPROVE ITS IMAGE IN THE UNITED
                               STATES, WHICH HAS SUPPORTED THE INTERNATIONAL
                     2         SANCTIONS AGAINST QATAR
                     3
                               54.    As a result of its Middle Eastern neighbors severing diplomatic
                     4
                         relations and imposing a commercial blockade, the Qatari Defendants retained
                     5
                         agents in Washington, D.C. and paid them millions of dollars to impact public
                     6
                         opinion and public policy in the United States, including by entering into
                     7
L L P




                         specific agreements with those agents for those agents to provide public
                     8
                         relations, consultancy, and related services. The Qatari Defendants launched
F L E X N E R




                     9
                         a public relations campaign to obfuscate Qatar’s ties to, and financial and
                   10
                         logistical support of, some of the world’s worst extremist and terrorist
                   11
                         organizations—including Al Qaeda (and its affiliate Al-Shabab), Hamas, the
S C H I L L E R




                   12
                         Taliban, and the Muslim Brotherhood—and to change Qatar’s image in the
                   13
                         United States, including particularly in the Jewish community in the United
                   14
                         States. As Tablet Magazine, an online publication focused on Jewish news,
                   15
B O I E S




                         wrote on February 13, 2018, the Qatari influence operation reflected “a Qatari
                   16
                         preoccupation with American Jewish communal power, as well as a desire to
                   17
                         address whichever challenges Doha believes Jewish influence raises for the
                   18
                         country’s vast ambitions in Washington and beyond.”
                   19
                               55.    This campaign was aimed at: (1) bolstering the image of the State
                   20
                         of Qatar in circles perceived as influential with the Trump Administration;
                   21
                         and (2) curtailing the influence of individuals that could undermine the
                   22
                         standing of the State of Qatar in the United States.
                   23
                   24
                   25
                   26
                   27
                   28                                         -- 17 --            Case No. 18-cv-02421-JFW
                                                    FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 18 of 70 Page ID #:451



                               A. Al Thani and Al-Rumaihi Directed and Supervised The State Of
                     1            Qatar’s Whitewashing Efforts
                     2
                               56.    This campaign on behalf of Defendant the State of Qatar was
                     3
                         directed and supervised by its agents Defendant Al Thani and Defendant Al-
                     4
                         Rumaihi.
                     5
                               57.    One of the activities engaged in by Defendant Al-Rumaihi was
                     6
                         investing in entities that he and Defendant Al Thani thought could help to
                     7
L L P




                         bolster Qatar’s image in the United States. Al-Rumaihi and Al Thani have
                     8
                         access to billions of dollars in capital from the Qatar Investment Authority to
F L E X N E R




                     9
                         use for this purpose. As one example, in 2017 Al-Rumaihi was a significant
                   10
                         investor in the “Big3” basketball league, started by Rapper Ice Cube and Jeff
                   11
                         Kwatinetz, a Los Angeles businessman. Al-Rumaihi then sought to use his
S C H I L L E R




                   12
                         association with Kwatinetz to gain contact with Kwatinez’s former business
                   13
                         associate, Steve Bannon, who was at that time the Chief White House
                   14
                         Strategist for President Trump. In litigation relating to Al-Rumaihi’s
                   15
B O I E S




                         investment in Big3, Kwatinetz filed an affidavit stating: “there were numerous
                   16
                         occasions during the 2017 [Big3] season, where Mr. Al-Rumaihi would bring
                   17
                         up Mr. Bannon’s name to me and comment about Mr. Bannon’s political
                   18
                         positions, his views on the blockade [of Qatar by Gulf states], the Trump
                   19
                         administration’s position toward Qatar, and he persistently inquired about
                   20
                         wanting to meet with Mr. Bannon.”
                   21
                               58.    In an affidavit filed in that litigation, Kwatinetz further revealed
                   22
                         that Defendant Al-Rumaihi admitted that he had previously attempted to
                   23
                         financially influence former officials of the Trump Administration:
                   24
                               Mr. Al-Rumaihi stated to me [Kwatinetz] that he wanted me to
                   25          convey a message from the Qatari Government to Steve Bannon.
                               Mr. Al-Rumaihi requested I set up a meeting between him, the
                   26          Qatari government, and Steven Bannon, and to tell Steve Bannon
                               that Qatar would underwrite all of his political efforts in return
                   27          for his support. I immediately let Mr. Al-Rumaihi know that I
                   28                                         -- 18 --            Case No. 18-cv-02421-JFW
                                                    FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 19 of 70 Page ID #:452



                               was offended by this request, that I was trying to run a basketball
                     1         league and need our money paid, and I stated that neither I nor
                               Steve Bannon would ever take, or even entertain the concept, of a
                     2         bribe of any kind. I was appalled. Mr. Al-Rumaihi laughed and
                               then stated to me that I shouldn’t be naive, that so many
                     3         Washington politicians take our money, and stated “do you think
                               [former National Security Advisor Michael] Flynn turned down
                     4         our money?”
                     5
                               59.   On information and belief, Defendant Al-Rumaihi’s comments to
                     6
                         Kwatinetz reference a December 12, 2016 visit by Al-Rumaihi to Trump
                     7
L L P




                         Tower to visit with the Trump Transition Team. Michael Flynn, at that time
                     8
                         the incoming National Security Adviser, was at Trump Tower on that same
F L E X N E R




                     9
                         day. Both Al-Rumaihi and Flynn were photographed in the lobby of the
                   10
                         Trump Tower that day.
                   11
                               60.   The attempted purchase of Newsmax is another example of how
S C H I L L E R




                   12
                         Al-Rumaihi and Al Thani sought to use millions of dollars from the Qatari
                   13
                         Investment Authority to bolster Qatar’s image in the United States in an effort
                   14
                         to address the commercial embargo. Politico reported on May 8, 2018 that
                   15
B O I E S




                         the State of Qatar’s attempt to purchase Newsmax was “overseen by
                   16
                         Mohammed bin Hamad bin Khalifa Al Thani, a younger brother of Qatari
                   17
                         Emir Tamim bin Hamad Al Thani” and “came during a mad scramble by the
                   18
                         wealthy Gulf monarchy to win friends and clout in the United States as it
                   19
                         struggled to respond to a Trump-endorsed blockade by its Arab neighbors.”
                   20
                               61.    Defendant Al-Rumaihi retained additional agents to craft and
                   21
                         execute the State of Qatar’s image whitewashing campaign. For example, Al-
                   22
                         Rumaihi was identified as the contact for Qatar in the June 7, 2017 retainer
                   23
                         agreement between the Ashcroft Law Firm LLC and the “Government of
                   24
                         Qatar.” According to the FARA filing disclosing that contract, former
                   25
                         Attorney General Ashcroft was retained by the Qatari Defendants to “enlist
                   26
                         the support and expertise of former key government leaders, including former
                   27
                   28                                        -- 19 --            Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 20 of 70 Page ID #:453




                     1 officials who held very senior positions within the Intelligence Community,
                     2 the Federal Bureau of Investigation, the Department of Treasury and the
                     3 Department of Homeland Security[.]” That $2.5 million retainer agreement
                     4 was signed for the State of Qatar by Dr. Ahmed Al-Hammadi, the Secretary
                     5 General of the State of Qatar’s Ministry of Foreign Affairs and the Acting
                     6 Head of Investments of the State-owned Qatar Investment Authority.
                     7        B. Defendants Stonington And Muzin Initially Focused On
L L P




                                 Influencing The United States Jewish Community
                     8
F L E X N E R




                     9        62.   Upon information and belief, as described in the February 13,
                   10 2018 Tablet Magazine article, Defendant Al-Rumaihi worked with
                   11 unregistered Qatari agent Joey Allaham to identify Defendants Muzin and
S C H I L L E R




                   12 Stonington to assist in the State of Qatar’s campaign to influence the Jewish
                   13 community in the United States.
                   14         63.   In late August 2017, the Qatari Defendants retained Defendants
                   15 Stonington and Muzin to influence public opinion regarding the State of
B O I E S




                   16 Qatar. Their agreement specifies that Muzin and Stonington were to provide
                   17 “consulting services” including the “development and implementation of a
                   18 government relations strategy for the State of Qatar, as requested and directed
                   19 by the Embassy.” The initial agreement provided that the State of Qatar
                   20 would pay Muzin and Stonington $50,000 a month for these services.
                   21         64.   Defendant Muzin’s efforts as an agent of the State of Qatar
                   22 quickly focused on an effort to put a pro-Jewish spin on the State of Qatar. A
                   23 September 5, 2017 article in O’Dwyer’s, an online magazine covering the
                   24 public relations industry, quotes Muzin as stating: “Engagement with Qatar
                   25 can only be in the best interests of the United States and the Jewish
                   26 community, as we cannot allow Qatar to be ostracized by its neighbors and
                   27 pushed into Iran’s sphere of influence.”
                   28                                      -- 20 --             Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 21 of 70 Page ID #:454




                     1        65.    As reported by the Israeli newspaper Haaretz on September 28,
                     2 2017, Defendant Muzin invited American Jewish leaders to meet with the
                     3 Emir in New York City during the Emir’s visit for the United Nations General
                     4 Assembly later that month. The opposition of Plaintiff Broidy and others to
                     5 these efforts helped prompt American Jewish leaders to refuse to meet with
                     6 the Emir at that gathering, thereby frustrating the plans of the Qatari
                     7 Defendants and Defendants Muzin, and Stonington to win over Jewish
L L P




                     8 leaders.
F L E X N E R




                     9        66.    The Zionist Organization of America (“ZOA”) reacted to that
                   10 invitation with a press release on September 12, 2017, in which the
                   11 organization’s president, Morton A. Klein, stated that although he had
S C H I L L E R




                   12 “received an invitation to meet with” the Emir of Qatar during the United
                   13 Nations General Assembly, he had “decided not to accept this invitation.”
                   14 Mr. Klein further stated: “Any Jewish leader meeting with the Qatari Emir or
                   15 Crown Prince likely means well, but he will serve as an unwitting prop in
B O I E S




                   16 their PR ploy to whitewash the legitimate reasons why its Arab Muslim
                   17 neighbors are boycotting them and why Israel and Jews are horrified by them,
                   18 meaning it will only strengthen Qatar’s embrace of Iran and critical backing of
                   19 Hamas.”
                   20         67.    According to a February 13, 2018 article in Tablet Magazine,
                   21 “Muzin largely failed to persuade Jewish leaders to agree to meetings with
                   22 influential Qataris visiting New York for the opening of the United Nations
                   23 General Assembly.”
                   24         68.    Soon after the failure of the United Nations General Assembly
                   25 initiative, Muzin began to invite American Jewish leaders on all-expense-paid
                   26 trips to Qatar to further the State of Qatar’s public relations campaign.
                   27 Plaintiff Broidy and others again encouraged American Jewish leaders to
                   28                                       -- 21 --             Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 22 of 70 Page ID #:455




                     1 decline the invitations. These efforts were mostly successful in helping to
                     2 prompt many American Jewish leaders to decline to participate in the public
                     3 relations trips to Qatar.
                     4        69.    As part of his work for the State of Qatar, Muzin sought out high-
                     5 profile individuals who could be helpful in furthering the interests of the State
                     6 of Qatar. On information and belief, Defendant Muzin recruited former
                     7 Arkansas Governor Mike Huckabee, a Republican candidate for President,
L L P




                     8 prominent media commentator, and father of current White House Press
F L E X N E R




                     9 Secretary Sarah Huckabee Sanders, to participate on a trip to Qatar. On
                   10 January 8, 2018, former Governor Huckabee tweeted “I’m in Doha,” and then
                   11 on January 12, 2018, tweeted, “Just back from a few days in surprisingly
S C H I L L E R




                   12 beautiful, modern, and hospitable Doha[.]” On information and belief
                   13 Defendant Muzin acknowledged paying an individual $50,000 for doing work
                   14 related to influencing former Governor Huckabee to travel to Qatar and meet
                   15 with the Emir.
B O I E S




                   16         70.    On information and belief, Defendant Muzin also met with White
                   17 House aide Victoria Coates, the Senior Director for International Negotiations
                   18 on the National Security Council and a former aide to Senator Ted Cruz, to
                   19 advocate for United States policies that would be supportive of the State of
                   20 Qatar. On information and belief, Defendant Muzin got Coates to have her
                   21 boss, Jason Greenblatt, the Special Envoy for International Negotiations, send
                   22 out the following tweet on February 9, 2018, that was supportive of Qatar:
                   23 “Qatar partnering with Israel can bring real relief to the people of Gaza.
                   24 Ending support for Hamas and focusing on humanitarian aid and
                   25 reconstruction will end the suffering.”
                   26         71.    Defendant Al-Rumaihi also engaged in efforts similar to
                   27 Defendants Muzin and Stonington with respect to the United States Jewish
                   28                                       -- 22 --             Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 23 of 70 Page ID #:456




                     1 Community. By means of example, at the invitation of unregistered Qatari
                     2 agent Joey Allaham, Al-Rumaihi attended a gala for the ZOA in New York
                     3 City in November 2017. Despite having vocally rejected an invitation by
                     4 Defendant Muzin to meet with the Emir at the United Nations General
                     5 Assembly in September 2017, after this dinner, the President of the ZOA
                     6 (Morton A. Klein) visited Qatar on a trip that Muzin arranged.
                     7        C. The State Of Qatar Spent Millions of Dollars on Agents To
L L P




                                 Further Its Public And Governmental Relations Efforts in the
                     8           United States
F L E X N E R




                     9        72.   According to the Center for Responsive Politics, the State of
                   10 Qatar spent nearly five million dollars on lobbyists and media relations in
                   11 2017 in an effort to gain the support of the United States government in
S C H I L L E R




                   12 Qatar’s its diplomatic standoff with other Middle Eastern countries.
                   13         73.   According to FARA filings of the State of Qatar, it retained and
                   14 entered into written agreements with at least the following agents in the
                   15 second half of 2017 or the first quarter of 2018 in an effort to improve its
B O I E S




                   16 image in the United States.
                   17               a. Avenue Strategies Global LLC (July 17, 2017 agreement), a
                   18                  firm with which former Trump Campaign Manager Corey
                   19                  Lewandowski has been affiliated, at the rate of $150,000 per
                   20                  month, increased to $500,000 per month on September 5,
                   21                  2017, with an additional $250,000 added to the October
                   22                  invoice through a retroactive agreement dated February 28,
                   23                  2018;
                   24
                   25
                   26
                   27
                   28                                       -- 23 --            Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 24 of 70 Page ID #:457




                     1              b. Stonington Strategies LLC (August 24, 2017 agreement) at
                     2                 the rate of $50,000 per month, increased to $300,000 per
                     3                 month on November 1, 2017;2
                     4              c. Ashcroft Law Group (June 7, 2017 agreement), at the rate of
                     5                 $2.5 million for a 90-day retainer;
                     6              d. Levick Strategic Communications (June 5, 2017 agreement) at
                     7                 the rate of $54,000 per month;
L L P




                     8              e. Information Management Services Inc. (June 19, 2017
F L E X N E R




                     9                 agreement) at the rate of $375,000 per month;
                   10               f. Conover & Gould Strategic Communications (June 29, 2017
                   11                  agreement) at the rate of $100,000 per month;
S C H I L L E R




                   12               g. Gallagher Group (July 11, 2017 agreement) at the rate of
                   13                  $25,000 per month, amended February 5, 2018 to $45,000 per
                   14                  month;
                   15               h. Audience Partners Worldwide (July 28, 2017 agreement) at an
B O I E S




                   16                  undisclosed rate;
                   17               i. McDermott, Will & Emery (July 13, 2017 agreement) at the
                   18                  rate of $40,000 per month;
                   19               j. Nelson Mullins Riley & Scarborough LLP (July 26, 2017
                   20                  agreement, renewed on March 19, 2018) at the rate of
                   21                  $100,000 per month for three months;
                   22               k. Portland PR (December 6, 2017 agreement) at the rate of
                   23                  $123,195 per month;
                   24
                   25
                   26    2
                       Stonington notably has not filed its mandatory supplemental FARA filing
                      disclosing the specifics of its FARA activities. That filing was due in March
                   27 2018. 28 C.F.R. § 5.200.
                   28                                      -- 24 --            Case No. 18-cv-02421-JFW
                                                 FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 25 of 70 Page ID #:458




                     1             l. Mercury Public Affairs (September 7, 2017 agreement) at the
                     2                 rate of $120,000 per month;
                     3             m. Bluefront Strategies (September 12, 2017 agreement)
                     4                 $100,000;
                     5             n. Hawksbill Group (August 1, 2017 agreement) $165,000;
                     6             o. Vitello Consulting (December 6, 2017 agreement) $10,000, as
                     7                 a subcontractor of Stonington Strategies;
L L P




                     8             p. Iron Bridge Strategies (February 1, 2018 agreement) at the
F L E X N E R




                     9                 rate of $25,000 per month;
                   10              q. Tigercomm LLC (January 11, 2018 agreement) at the rate of
                   11                  $30,000 per month;
S C H I L L E R




                   12              r. Venable LLP (January 31, 2018 agreement) at the rate of
                   13                  $150,000 per month;
                   14              s. Husch Blackwell Strategies (February 1, 2018 agreement) at
                   15                  the rate of $25,000 per month;
B O I E S




                   16              t. SGR Government Relations & Lobbying (February 1, 2018
                   17                  agreement) at the rate of $40,000 per month;
                   18              u. Pillsbury Winthrop Shaw Pittman LLP (March 15, 2018
                   19                  agreement) at rates between $500 and $955 per hour;
                   20              v. Lumen8 Advisors, LLC (March 15, 2018 agreement) at the
                   21                  rate of $1,000 per hour; and
                   22              w. Ballard Partners (March 29, 2018 Agreement) at the rate of
                   23                  $175,000 per month for one year.
                   24 III.   DEFENDANTS BECAME INCREASINGLY FRUSTRATED BY
                             PLAINTIFF BROIDY’S OUTSPOKEN CRITICISM OF THE
                   25        STATE OF QATAR
                   26        74.   Plaintiff Broidy is a prominent business and civic leader who has
                   27 actively served in leadership roles in Jewish organizations and the Republican
                   28                                       -- 25 --             Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 26 of 70 Page ID #:459




                     1 Party for decades, and during pertinent periods frequently and directly
                     2 interacted with the President of the United States. His advocacy against
                     3 terrorism and extremism is well known. Plaintiff Broidy served on the
                     4 Homeland Security Advisory Council from 2006 to 2009 and specifically on
                     5 the Future of Terrorism Task Force of that Council. The “Findings” report of
                     6 that Task Force, issued on January 11, 2007, stated: “Factors that will
                     7 influence the future of terrorism include: the leadership of the terrorists, US
L L P




                     8 counterterrorism efforts, status of political reform in Muslim nations and the
F L E X N E R




                     9 elimination of safe havens[.]” (Emphasis added.) This report was directed at
                   10 and, on information and belief, was known to countries operating as safe
                   11 havens for terrorist organizations, including the State of Qatar.
S C H I L L E R




                   12         75.    Since September 11, 2001, Plaintiff Broidy has increased his
                   13 involvement in supporting the safety of his homeland, the United States. As
                   14 part of his involvement, he became active in fundraising for the Republican
                   15 Party because its views on how to defend the United States were aligned with
B O I E S




                   16 his own. He also became involved in numerous civic activities involving
                   17 counter-terrorism to promote the security of the United States.
                   18         76.    Beginning in March 2017, Plaintiff Broidy, among others,
                   19 became a vocal critic of the State of Qatar’s support for terrorists and friendly
                   20 relationship with Iran, which Mr. Broidy sees as a major threat to the security
                   21 of the United States and its allies, and began to support financially public
                   22 initiatives – such as conferences – to educate Americans about Qatar’s support
                   23 for terrorist and extremist organizations.
                   24         77.    During pertinent periods Plaintiff Broidy regularly conveyed this
                   25 criticism of Qatar in meetings with United States Government officials and
                   26 civic leaders, including President Trump.
                   27
                   28                                       -- 26 --             Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 27 of 70 Page ID #:460




                     1         78.   Defendant the State of Qatar was aware of Plaintiff Broidy’s
                     2 influential criticism. In initial discussions with Defendants Muzin and
                     3 Stonington, Qatari officials told Muzin of their concerns about Plaintiff
                     4 Broidy. As Defendant Muzin recounted, “They knew about him [Broidy]”
                     5 and “knew that he [Broidy] had been influential” in shaping the White
                     6 House’s views on Qatar.
                     7         79.   Qatari officials complained in particular about President Trump’s
L L P




                     8 recorded remarks at a June 2017 meeting of the Republican National
F L E X N E R




                     9 Committee: “We’re having a dispute with Qatar — we’re supposed to say
                   10 Qatar. It’s Qatar, they prefer. I prefer that they don’t fund terrorism.” At
                   11 the same meeting, President Trump publicly identified Plaintiff Broidy in the
S C H I L L E R




                   12 audience and stated: “Elliott Broidy is fantastic.” That acknowledgment was
                   13 followed by a round of applause.
                   14          80.   Defendant Muzin has admitted that officials of Defendant the
                   15 State of Qatar, with whom he met shortly after President Trump’s remarks
B O I E S




                   16 at that June 2017 meeting, stated: “Broidy was like sitting in the front row
                   17 and that he had somehow prompted Trump to say that.”
                   18          81.   After Defendants Muzin and Stonington were retained by the
                   19 State of Qatar, Mr. Broidy extended his criticism of the State of Qatar to the
                   20 efforts by Muzin and Stonington to arrange meetings between the Emir and
                   21 American Jewish leaders.
                   22          82.   Beginning in or around September 2017, Plaintiff Broidy began
                   23 to urge American Jewish leaders to decline the invitations of the State of
                   24 Qatar and Muzin to meet with the Emir in New York City and/or to visit
                   25 Qatar.
                   26          83.   Plaintiff Broidy was not alone in this effort. On September 15,
                   27 2017, Forbes published a piece by a contributing writer titled “Why is Qatar
                   28                                       -- 27 --            Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 28 of 70 Page ID #:461




                     1 offering to trade dead Israelis for meetings with live Jews?” The article
                     2 reported that an offer was being made to American Jewish leaders to return
                     3 the corpses of two Israeli soldiers whom Hamas had killed if those leaders
                     4 would meet with the Emir. The article stated:
                     5               a. Rabbi Shmuel Boteach (who according to Newsweek is one of
                     6                  the ten most influential rabbis in the United States) stated that
                     7                  “all who agreed to whitewash the terror-stained hands of the
L L P




                     8                  emir would be condoning murder.”
F L E X N E R




                     9               b. The State of Qatar hired Defendant Muzin, who “may have
                   10                   hinted to some Jewish leaders that his lobbying had the
                   11                   ‘blessing’ of Israel’s elected government.” But Israel’s
S C H I L L E R




                   12                   Ambassador to the United States, Ron Dermer, denied this,
                   13                   stating: “It is not true.”
                   14                c. The State of Qatar has admitted to giving approximately $1.4
                   15                   billion to Hamas over the past few years. (Hamas is
B O I E S




                   16                   designated by the United States as a terrorist organization).
                   17                d. Qatar is “like Woodstock for terrorists,” and has also “been
                   18                   accused of hosting the Somali terrorist group Al-Shabab, an al
                   19                   Qaeda affiliate.”
                   20                e. Defendant Muzin claimed that he contacted prominent
                   21                   American Jewish leaders, but “Each denied agreeing to any
                   22                   meeting with Qatar and two of these leaders denied ever even
                   23                   speaking to Muzin.” “Like a child’s game of telephone,
                   24                   Muzin apparently told each Jewish leader that a different
                   25                   prominent Jew had already agreed to meet the Emir. This
                   26                   didn’t turn out to be true.”
                   27
                   28                                        -- 28 --            Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 29 of 70 Page ID #:462




                     1        84.    Although many American Jewish leaders declined the invitations
                     2 given in September 2017, Defendant Muzin continued his attempts to arrange
                     3 trips to Qatar for American Jewish leaders. These trips furthered the State of
                     4 Qatar’s strategy to court favor with high-profile American Jewish leaders,
                     5 whom they believed could shift United States policy in favor of the State of
                     6 Qatar and alleviate pressure caused by the economic embargo on it. On
                     7 information and belief, in some instances, Defendants Muzin and Stonington
L L P




                     8 paid for the trips taken. Among those participating in the trips were:
F L E X N E R




                     9               a. Rabbi Shmully Hecht, co-founder and Rabbinical Advisor of
                   10                   Shabtai, the Jewish Society at Yale University, who wrote in a
                   11                   January 25, 2018 article in The Times of Israel, an online
S C H I L L E R




                   12                   Israeli newspaper: “A few months ago, Nick Muzin asked me
                   13                   to attend meetings with influential global thought leaders who
                   14                   are also prominent in the Jewish world, and the Emir of Qatar.
                   15                   . . . Many prominent Jewish leaders have flown to Qatar and
B O I E S




                   16                   have spent quality time with the country’s leadership.”
                   17                b. Alan Dershowitz, the Felix Frankfurter Professor of Law,
                   18                   Emeritus, at Harvard Law School, who wrote in a January 12,
                   19                   2018 article in The Hill: “I just returned from a private visit
                   20                   to Qatar, at the invitation of and paid for by the Emir. . . . I
                   21                   observed that Qatar is quickly becoming the Israel of the Gulf
                   22                   States, surrounded by enemies, subject to boycotts and
                   23                   unrealistic demands, and struggling for its survival.”
                   24                   Defendant Muzin acknowledged arranging for Dershowitz to
                   25                   make this trip.
                   26                c. Morton A. Klein, the President of ZOA, who, despite his
                   27                   initial reluctance to meet with the Emir at the United Nations,
                   28                                        -- 29 --            Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 30 of 70 Page ID #:463




                     1                ultimately decided to travel to Qatar in order to have the
                     2                chance to confront the Emir, wrote in a January 30, 2018
                     3                article in Haaretz: “I decided it was important for me to
                     4                speak truth to power, especially when the Emir repeatedly
                     5                invited me to give them my views on what they needed to
                     6                do.”
                     7             d. Malcolm Hoenlein, the executive vice chairman of the
L L P




                     8                Conference of Presidents of Major Jewish Organizations.
F L E X N E R




                     9                (During approximately the same time period in 2017,
                   10                 Defendant Al Thani attended the wedding of Hoenlein’s
                   11                 daughter).
S C H I L L E R




                   12        85.   Despite these successes, there was nonetheless significant
                   13 backlash in the American Jewish community against Defendant Muzin’s work
                   14 on behalf of the State of Qatar. For example:
                   15              a. On January 15, 2018, Rabbi Shmuel Boteach published “An
B O I E S




                   16                 Open Letter to the Emir of Qatar,” stating: “Newspapers are
                   17                 filled with reports that you have hired an Orthodox Jew, Nick
                   18                 Muzin, of Stonington Strategies, and his partners, as agents of
                   19                 Qatar to promote your image among American Jews, and to
                   20                 lobby the US government. There is non-stop chatter of rabbis,
                   21                 writers and community leaders accepting free trips to Doha,
                   22                 which is big news because your regime funds Hamas —
                   23                 which is responsible for an endless stream of funerals in
                   24                 Israel.”
                   25              b. A spokesman for the Israeli Embassy in Washington
                   26                 denounced the trips to Qatar. See Haaretz on January 31,
                   27                 2018 (“We oppose this outreach effort in the Jewish and pro-
                   28                                       -- 30 --             Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 31 of 70 Page ID #:464




                     1                   Israel community.”) and the New York Times on February 9,
                     2                   2018 (“We do not approve of these visits by the Jewish
                     3                   organizations to Qatar.”).
                     4          86.   Plaintiff Broidy did not make any public statements against the
                     5 trips to Qatar, but he and others did privately criticize them with other
                     6 American Jewish leaders. Plaintiff Broidy also funded at least two high-
                     7 profile conferences in Washington, D.C. devoted to scrutiny of the State of
L L P




                     8 Qatar.
F L E X N E R




                     9          87.   On information and belief, Plaintiff Broidy’s efforts opposing the
                   10 State of Qatar, and in particular the efforts of Muzin and Stonington on
                   11 Qatar’s behalf, only enhanced Muzin’s pre-existing animus against Broidy,
S C H I L L E R




                   12 which arose from Broidy’s successful efforts in 2016 to block Muzin from
                   13 receiving a highly questionable commission on a large political donation that
                   14 Muzin believed he had been instrumental in arranging.
                   15 IV.       DEFENDANTS TARGET BROIDY
B O I E S




                   16
                                88.   In connection with his work for the State of Qatar, Defendant
                   17
                         Muzin had weekly meetings at the Embassy of Qatar in Washington, D.C.,
                   18
                         where he discussed his ongoing efforts. On information and belief, the
                   19
                         agendas for these meetings were set by Defendants Al Thani and Al-Rumaihi,
                   20
                         and the meetings began in 2017 in anticipation of the Emir’s April 2018 visit
                   21
                         to the United States for bilateral meetings with the Trump Administration and
                   22
                         visits to Capitol Hill. On information and belief, at those meetings, Defendant
                   23
                         Muzin became increasingly upset about Plaintiff Broidy’s efforts to
                   24
                         undermine his lobbying for the State of Qatar and felt that these were personal
                   25
                         attacks on him. On information and belief, Defendant Muzin brought up
                   26
                   27
                   28                                        -- 31 --            Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 32 of 70 Page ID #:465




                     1 Plaintiff Broidy in these meetings as an obstacle that needed to be dealt with
                     2 for his lobbying on behalf of Qatar to succeed.
                     3        89.    As Defendant Muzin later admitted: “Broidy’s name comes up
                     4 in Embassy meetings often.” He also admitted, “I definitely identified him as
                     5 somebody who, was not, didn’t like them too much.” Defendant Muzin also
                     6 stated: “There’s no question I had conversations with them [the Qataris] about
                     7 Elliott.”
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                     8        90.    The efforts undertaken in September and October 2017 by
F L E X N E R




                     9 Defendant Muzin, acting as the agent of the State of Qatar, to influence the
                   10 United States Jewish community were manifestly unsuccessful. As alleged
                   11 above, by and large, American Jewish leaders declined to meet with the Emir
S C H I L L E R




                   12 of Qatar when he was at the United Nations and declined offers of all-
                   13 expenses-paid trips to visit Qatar. Notwithstanding Muzin’s lack of success,
                   14 the State of Qatar nevertheless raised his monthly payment to $300,000 a
                   15 month in November 2017 – shortly before the attacks on Plaintiffs began. On
B O I E S




                   16 information and belief, the increase in Muzin’s monthly pay was necessary to
                   17 support activities related to the hacks for which Muzin had responsibility.
                   18         91.    Although Plaintiff Broidy was not the only outspoken critic of
                   19 the State of Qatar and of Muzin’s efforts on its behalf, on information and
                   20 belief, Defendants the State of Qatar, Al Thani, Al-Rumaihi, Stonington, and
                   21 Muzin, targeted Plaintiff Broidy specifically because he had exercised his
                   22 right to speak out on an issue of national and international concern and by
                   23 doing so, had negatively impacted Qatar’s interests.
                   24         92.    Thereafter, the Qatari Defendants and the Agent Defendants
                   25 agreed to engage in and did in fact engage in or coordinate a series of hacks
                   26 and/or other misappropriation of the private communications, documents,
                   27
                   28                                       -- 32 --            Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 33 of 70 Page ID #:466




                     1 trade secrets and intellectual property of Plaintiffs, and unlawfully distributed
                     2 those materials to the media.
                     3   V.   DEFENDANTS EXECUTED A SOPHISTICATED
                              CYBERATTACK ON PLAINTIFFS
                     4
                              A. Defendants Unlawfully Accessed Plaintiffs’ Computer Network,
                     5           Private Communications, Documents, Trade Secrets And
                                 Intellectual Property
                     6
                     7        93.    On information and belief, sometime prior to December 27,
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                     8 2017, Defendant State of Qatar acting directly or through the Agent
F L E X N E R




                     9 Defendants, retained the GRA Defendants to coordinate an offensive cyber
                   10 and information operation against Plaintiffs, including by infiltrating
                   11 Plaintiffs’ computer networks in Los Angeles, California and obtaining
S C H I L L E R




                   12 unauthorized access to Google email accounts of United States persons
                   13 associated with Plaintiffs. Servers hosting those accounts are located in
                   14 California.
                   15         94.    On information and belief, the GRA Defendants introduced
B O I E S




                   16 Defendant State of Qatar to known and unknown threat actors to execute the
                   17 attacks, and supervised this work and were responsible for the overall
                   18 execution of the project.
                   19         95.    Approximately one month before the cyberattacks against
                   20 Plaintiffs and their associates began, on information and belief, in October
                   21 2017 the GRA Defendants also opened a subsidiary of GRA organized under
                   22 the laws of Gibraltar and physically located in Doha, Qatar.
                   23         96.    On information and belief, the GRA Defendants were actively
                   24 recruiting new employees within the small community of former U.S.
                   25 government offensive cyber operatives, and the GRA Defendants made it
                   26 clear within that community that they had been retained to conduct or
                   27 coordinate offensive cyber operations on behalf of Defendant State of Qatar.
                   28                                        -- 33 --            Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 34 of 70 Page ID #:467



                                        1. The Rosenzweig Attack
                     1
                               97.      Robin Rosenzweig, a U.S. citizen, serves as legal counsel to
                     2
                         Plaintiffs and lives in Los Angeles. On information and belief, Ms.
                     3
                         Rosenzweig has an email account through Gmail, an email service provided
                     4
                         by Google LLC (“Google”), a company headquartered in Mountain View,
                     5
                         California. Ms. Rosenzweig’s Gmail account contains private
                     6
                         communications and requires at least a username and password for access.
                     7
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                               98.      On December 27, 2017, Ms. Rosenzweig received an email at her
                     8
                         Gmail account that appeared to be an account security alert from Google. On
F L E X N E R




                     9
                         information and belief, the email used Google trademarks without the
                   10
                         permission of Google, including the Google logo and the Gmail logo. The
                   11
                         email was sent from a Gmail address, which had been disguised to look like
S C H I L L E R




                   12
                         an authentic security alert from Google. The email purported to alert Ms.
                   13
                         Rosenzweig that the security on her account had been compromised and that
                   14
                         she needed to verify or change her account credentials. When she clicked on
                   15
B O I E S




                         the link in the email it directed her to a TinyURL website that appeared as if it
                   16
                         was an authentic Google account login page. TinyURL is a redirecting
                   17
                         service that provides shortened URLs that redirects a website visitor to the
                   18
                         website associated with the longer URL. It is known to be used by hackers
                   19
                         and scammers to avoid detection and circumvent spam and malware filters.
                   20
                         The URL address for that page was http://tinyurl.com/yaw4jmpn. When the
                   21
                         TinyURL link was clicked it redirected Ms. Rosenzweig to the following
                   22
                         website that contained Google’s logo and appeared to be an authentic Google
                   23
                         account update page: https://mailchallenge-service-userupdate-myprofile-
                   24
                         authsupport-
                   25
                         key.userupdate.info/m/pn?tR0Il12=cHpXbG8yeXhyR0lOTTIxdW5KamhMM
                   26
                         jln&nrn=SHo5dm5KNHREYVdpbkpFNQ==&cr=SkQ9PQ==&lan=en&rD3c
                   27
                   28                                         -- 34 --             Case No. 18-cv-02421-JFW
                                                     FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 35 of 70 Page ID #:468




                     1 In=&rCv=WGxiZFh2YmRYd3Bt&VrCe2Ph=1&VrCe2Em=. However, that
                     2 page was a fraudulent login page that is no longer active. The TinyURL link
                     3 has been terminated by TinyURL for being used for spam, fraud, malware, or
                     4 other illegal activity.
                     5         99.   On information and belief, that email was a spearphishing email
                     6 designed to gain unauthorized access to Ms. Rosenzweig’s Google accounts
                     7 which include the full suite of Google’s online products, such as Gmail,
L L P




                     8 Google Drive, Google Calendar, Google Contacts, and YouTube. Those
F L E X N E R




                     9 accounts contained, among other things, personal emails, business emails,
                   10 usernames and passwords to access other non-Google accounts belonging to
                   11 Ms. Rosenzweig, including an account on the computer network of Plaintiff
S C H I L L E R




                   12 BCM. Without authorization and in violation of Google’s Terms of Service,
                   13 the Defendant attackers used Ms. Rosenzweig’s credentials to unlawfully
                   14 access passwords stored by Ms. Rosenzweig on Google’s servers. Gmail
                   15 Program Policies and Google’s Terms of Service, which are expressly
B O I E S




                   16 governed by the laws of California, prohibit illegal uses as well as sending
                   17 unauthorized email of any person without their consent.
                   18          100. On information and belief, Ms. Rosenzweig’s Gmail account was
                   19 accessed and modified unlawfully and without her consent on or around
                   20 January 3, 2018. The Defendant attackers modified Ms. Rosenzweig’s email
                   21 account settings so that emails containing “Mail.ru,” “viewed,” or “alert” were
                   22 marked as read and moved immediately to her trash. The Defendant attackers
                   23 did this to ensure that any legitimate security alerts would not be viewed by
                   24 Ms. Rosenzweig. Mail.ru is a Russian email service that publishes an app that
                   25 can be used to send and receive emails on Mail.ru or other email services like
                   26 Gmail. Unbeknownst to Ms. Rosenzweig, on January 4, 2018, Ms.
                   27 Rosenzweig received a true security alert – that went directly to her trash –
                   28                                      -- 35 --             Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 36 of 70 Page ID #:469




                     1 notifying her that a user or users of the Mail.ru app had obtained access to
                     2 read, send, delete, and manage Ms. Rosenzweig’s Gmail account, all without
                     3 her awareness or consent.
                     4               2. The Mowbray Attack
                     5        101. Joel Mowbray is a U.S. citizen and resident of New York, New
                     6 York. Prior to December 27, 2017, Mr. Mowbray was known by Defendants
                     7 to be an associate of Plaintiff Broidy as well as a critic of both the Defendant
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                     8 State of Qatar and Defendant Muzin.
F L E X N E R




                     9        102. On information and belief, Mr. Mowbray has a private Gmail
                   10 account that he uses to send and receive personal and business emails. Mr.
                   11 Mowbray’s Gmail account contains private communications and requires at
S C H I L L E R




                   12 least a username and password for access. Beginning on or around December
                   13 27, 2017, the same day as Ms. Rosenzweig was attacked, Mr. Mowbray also
                   14 began to receive a barrage of spearphishing emails disguised as Google News
                   15 stories that bore Google trademarks used without Google’s permission and
B O I E S




                   16 were sent through Google’s Gmail service in violation of Google’s Terms of
                   17 Service and Gmail’s Program Policies. The spearphishing, news-alert emails
                   18 contained links purportedly to news stories about Mr. Mowbray’s family,
                   19 discrete projects on which Mr. Mowbray previously worked, and Plaintiff
                   20 Broidy. These topics were not the subject of general public awareness but
                   21 they, and their importance to Mr. Mowbray, were known to Defendant Muzin.
                   22         103. On information and belief, when Mr. Mowbray clicked on the
                   23 link in one of the news stories, it directed him to a shortened URL website,
                   24 like TinyURL or Bitly, that appeared as if it was an authentic Google account
                   25 login page. For example, one of the URL addresses was
                   26 https://tinyurl.com/yckx3cny. When this TinyURL link was clicked, it
                   27 redirected Mr. Mowbray to a website that asked for his Google login
                   28                                       -- 36 --             Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 37 of 70 Page ID #:470




                     1 credentials. Mr. Mowbray provided his credentials to at least one of these
                     2 malicious websites that contained Google’s trademarks without the permission
                     3 of Google. TinyURL has now terminated this website because it has been
                     4 used for spam, fraud, malware, or other illegal activity.
                     5        104. On information and belief, Mr. Mowbray had two-factor
                     6 authentication enabled for his Google account on or about December 27,
                     7 2017. Two-factor authentication is an extra layer of security that requires not
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                     8 only a password and username for login, but also something that only that user
F L E X N E R




                     9 has available to them, such as a mobile phone or other email address. Mr.
                   10 Mowbray’s second factor was his mobile phone, which he had set to receive
                   11 verification text messages or a phone call from Google containing a
S C H I L L E R




                   12 verification code.
                   13         105. Beginning on or about December 27, 2017, Mr. Mowbray
                   14 received a call from a United States telephone number purportedly associated
                   15 with Google and containing a recording providing the verification code for his
B O I E S




                   16 account. Contemporaneous with that call from Google, Mr. Mowbray also
                   17 received from the Defendants several spearphishing text messages and calls
                   18 from U.S. phone numbers that were purportedly from Google. These phone
                   19 numbers are associated with U.S. phone carriers such as Hook Mobile. These
                   20 text messages and calls directed Mr. Mowbray to log in to his Gmail account
                   21 so that he could verify his account. Mr. Mowbray also received spearphishing
                   22 text messages such as those pictured below, and phone calls from phone
                   23 numbers with U.S. area codes and registered to U.S. carriers, such as Hook
                   24 Mobile, which mimicked two-factor authentication messages and made the
                   25 phishing emails appear authentic.
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                   27
                   28                                       -- 37 --             Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 38 of 70 Page ID #:471




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                   17        106. The Defendant attackers sent Mr. Mowbray these messages
                   18 because they could not access his Google account without his two-factor
                   19 authentication code.
                   20
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                   28                                    -- 38 --             Case No. 18-cv-02421-JFW
                                                FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 39 of 70 Page ID #:472




                     1        107. On information and belief, Defendants also sent emails to Mr.
                     2 Mowbray to obtain his two-factor authentication code. These emails, such as
                     3 the one pictured below, were sent from a misleading Gmail account with the
                     4 name “Gmail” and email addresses, such as mymail.securealerts@gmail.com
                     5 and noreply.secureservicealerts@gmail.com, which were designed to appear
                     6 as if they were from authentic Google security accounts. These emails used
                     7 Google trademarks and logos without the permission of Google.
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                   21         108. These spearphishing emails were designed to lure Mr. Mowbray
                   22 to a malicious website seeking his Google login credentials. For example, one
                   23 of the links went to a Bitly URL address: http://bit.ly/2lber5Z. If the Bitly
                   24 link had been clicked, it would have redirected Mr. Mowbray to the following
                   25 website that contained Google’s logo and appeared to be an authentic Google
                   26 account page at the same domain (userupdate.info) as one of the spearphishing
                   27 emails that Ms. Rosenzweig received seeking her Google login information:
                   28                                      -- 39 --             Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 40 of 70 Page ID #:473




                     1 https://authsupport-myprofilelogon-servicemail-userowavalue-
                     2 key.userupdate.info/m/vc/?tR0Il12=bnpFZ28zcXZwelNOTTIxdW5KamhM
                     3 Mjln&nrn=Vk49PQ==&cr=SkQ9PQ==&lan=en&rD3cIn=&rCv=WGxiZFh2
                     4 YmRYd3A0&VrCe2Ph=&VrCe2Em. As with Ms. Rosenzweig, this link led
                     5 to a fraudulent login page that is no longer active. The Bitly link was created
                     6 on December 27, 2017, which is contemporaneous with the email that Mr.
                     7 Mowbray received. This Bitly link has been terminated by Bitly for
L L P




                     8 suspicious activity.
F L E X N E R




                     9               3. The Executive Assistant Attack
                   10         109. Plaintiff Broidy’s Executive Assistant (“the Executive
                   11 Assistant”) is a U.S. citizen and resident of Los Angeles, CA. She is an
S C H I L L E R




                   12 employee of Plaintiff BCM. She has a private Gmail account that she uses to
                   13 send and receive personal emails. Her Gmail account contains private
                   14 communications and requires at least a username and password for access.
                   15         110. On information and belief, on or around January 14, 2018, just
B O I E S




                   16 weeks after Ms. Rosenzweig and Mr. Mowbray were attacked, the Executive
                   17 Assistant began to receive spearphishing emails disguised as Google security
                   18 alerts, which bore Google trademarks used without Google’s permission and
                   19 were sent through Google’s Gmail service in violation of Google’s Terms of
                   20 Service and Gmail’s Program Policies.
                   21         111. On information and belief, one of the spearphishing emails
                   22 contained a fictitious security alert with a picture of her face and part of her
                   23 phone number. The email was sent from a misleading Gmail account with the
                   24 name “Gmail Account” and the email address
                   25 noreply.user.secure.services@gmail.com, which had been drafted to look like
                   26 an authentic security alert from Google. The email purported to alert the
                   27 Executive Assistant that the security on her account had been compromised
                   28                                       -- 40 --             Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 41 of 70 Page ID #:474




                     1 and that she needed to verify or change her Google credentials. When she
                     2 clicked on the link in the email, it directed her to an Owly address, which
                     3 redirected her to a website that appeared as if it was an authentic Google
                     4 account login page. Like TinyURL and Bitly, Owly is a redirecting service
                     5 that provides shortened URLs that redirect a website visitor to the website
                     6 associated with the longer URL. It is known to be used by hackers and
                     7 scammers to avoid detection and circumvent spam and malware filters. The
L L P




                     8 URL address for that page was http://ow.ly/FJZ030hLxof. When the Owly
F L E X N E R




                     9 link was clicked, it redirected her to the following website that contains
                   10 Google’s logo and appeared to be an authentic Google account login page:
                   11 http://loms.96.lt/BDHRov58?platform=hootsuite. However, that page was a
S C H I L L E R




                   12 fraudulent login page that is no longer active.
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                   28                                       -- 41 --             Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 42 of 70 Page ID #:475



                                    4. The BCM Attack
                     1
                     2        112. Plaintiff BCM has an exchange server physically located in Los
                     3 Angeles, California. The server allows BCM employees to send and receive
                     4 business and occasional personal emails. Plaintiff Broidy, his Executive
                     5 Assistant, and several other employees all have secure email accounts on the
                     6 BCM server containing private communications that require at least a
                     7 username and password for access.
L L P




                     8        113. On information and belief, efforts to gain access to Plaintiff
F L E X N E R




                     9 BCM’s network appear to have commenced as early as January 7, 2018. The
                   10 first successful access was gained on January 16, 2018, just two days after the
                   11 successful spearphishing campaign on Plaintiff Broidy’s Executive Assistant.
S C H I L L E R




                   12 The Defendant attackers maintained unauthorized and unlawful access to the
                   13 BCM email server until at least February 25, 2018. During this period, there
                   14 were thousands instances of unlawful and unauthorized access to corporate
                   15 email accounts at Plaintiff BCM, including but not limited to unlawful and
B O I E S




                   16 unauthorized connections to Plaintiff Broidy and his Executive Assistant’s
                   17 email accounts at Plaintiff BCM.
                   18         114. From January 7, 2018 to February 25, 2018, several instances of
                   19 unlawful and unauthorized access occurred through Virtual Private Networks
                   20 (“VPNs”) that masked the IP addresses from which the attacks originated.
                   21 VPNs route internet communication through additional networks to hide the
                   22 original source of the connection. Some of these VPN connections occurred
                   23 via IP addresses that are allocated to United States companies that lease them
                   24 to third parties. For example, one of the suspicious IP addresses associated
                   25 with the intrusions into the BCM server was leased from Micfo LLC, a
                   26 company headquartered in Charleston, South Carolina.
                   27
                   28                                      -- 42 --             Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 43 of 70 Page ID #:476




                     1        115. On February 14, 2018 and February 19, 2018, unlawful and
                     2 unauthorized connections originated from an IP address in Qatar. These two
                     3 unlawful and unauthorized intrusions into BCM’s California email server
                     4 were not masked by VPNs, even though the connections immediately before
                     5 and immediately after the access were routed through VPNs, possibly because
                     6 the VPN failed or because the accessing computer automatically connected to
                     7 Plaintiff BCM’s network before the VPN could be activated. These
L L P




                     8 connections revealed the actual location of a computer or computers accessing
F L E X N E R




                     9 Plaintiff BCM’s network from an IP address in Qatar.
                   10         116. These attacks resemble known international attacks by
                   11 sophisticated cyber-hackers. Previous attacks against other victims by these
S C H I L L E R




                   12 same threat actors have involved similar fraudulent news alerts, malicious
                   13 Google login pages, email addresses designed to resemble legitimate Google
                   14 security addresses, fraudulent two-factor authentication messages, and the use
                   15 of Mail.ru to control victims’ accounts. In addition, one of the IP addresses
B O I E S




                   16 used by the Defendants to access Plaintiffs’ servers without authorization has
                   17 been observed in other known, international attacks by these threat actors.
                   18 VI.     DEFENDANTS EXECUTED A DISINFORMATION CAMPAIGN
                              AGAINST PLAINTIFF BROIDY BY DISSEMINATING THE
                   19         MATERIALS STOLEN FROM PLAINTIFFS
                   20         117. After unlawfully obtaining Plaintiffs’ private communications,
                   21 emails, documents and intellectual property, the Defendants viewed the stolen
                   22 documents in an email application on their computers and converted them to
                   23 PDFs for dissemination to third parties. In multiple instances, this conversion
                   24 process resulted in information from the Defendants’ computers being
                   25 transferred as metadata to the PDF documents that were subsequently
                   26 disseminated to third parties. Many of the PDFs disseminated to third parties
                   27 contained time stamps different from the Pacific Time Zone associated with
                   28                                      -- 43 --            Case No. 18-cv-02421-JFW
                                                 FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 44 of 70 Page ID #:477




                     1 the original documents – and instead bear time stamps from the Central and
                     2 Eastern Time Zones.
                     3        118. Upon information and belief, some of the unlawfully obtained
                     4 documents were given to United States media outlets in hard-copy form by
                     5 hand-delivery within the United States.
                     6        119. On February 24, 2018, Defendants registered the email address
                     7 “LA.Confidential@mail.com” through the company 1&1 Internet, Inc., which
L L P




                     8 operates in the United States through offices in Chesterbrook, Pennsylvania.
F L E X N E R




                     9 Mail.com provides free email addresses akin to Google’s Gmail service. On
                   10 or around March 1, 2018, Defendants used this address to unlawfully
                   11 distribute Plaintiffs’ stolen emails to a United States journalist employed by a
S C H I L L E R




                   12 United States-based company.
                   13         120. On information and belief, Plaintiffs’ stolen emails have also
                   14 appeared on a website hosted by a United States company, GoDaddy LLC
                   15 (“GoDaddy”), which is headquartered in Scottsdale, Arizona. GoDaddy is a
B O I E S




                   16 domain registrar and web hosting service that sells website domains to users
                   17 so they may create their own webpage and hosts websites. Defendants further
                   18 obfuscated their identity using a registration masking service, Domain by
                   19 Proxy LLC, which allows a user to replace their own personal information
                   20 with information belonging to Domain by Proxy LLC for purposes of
                   21 registration. Domain by Proxy LLC is a company owned by GoDaddy LLC.
                   22         121. On March 1, 2018, the contents of emails stolen from Plaintiffs’
                   23 California-based computer accounts and servers appeared in the Wall Street
                   24 Journal in an article titled, “Trump Ally Was in Talks to Earn Millions in
                   25 Effort to End 1MDB Probe in U.S.” Additional emails stolen from those
                   26 California computer accounts and servers were published or reported on in
                   27
                   28                                      -- 44 --             Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 45 of 70 Page ID #:478




                     1 other media outlets including the Huffington Post on March 2, 2018 and the
                     2 New York Times on March 3, 2018 and the BBC on March 5, 2018.
                     3        122. On March 8, 2018, Defendant Muzin demonstrated his
                     4 knowledge that Plaintiff Broidy had been successfully targeted by the State of
                     5 Qatar by stating: “I did not cause the Broidy stuff, just because I have
                     6 information” and “I don’t know all the details, but I know that I am hearing
                     7 repeatedly that there’s a lot more coming.”
L L P




                     8        123. On March 22, 2018, the New York Times published a front page
F L E X N E R




                     9 article noting that an “anonymous group critical of Mr. Broidy’s advocacy of
                   10 American foreign policies in the Middle East” has been distributing
                   11 “documents, which included emails, business proposals and contracts,”
S C H I L L E R




                   12 supposedly belonging to Plaintiffs. On March 23, 2018, Bloomberg published
                   13 an article about Plaintiff Broidy, which noted that it had “received two
                   14 separate documents this week purporting to be versions” of materials
                   15 belonging to Plaintiff Broidy.
B O I E S




                   16         124. On March 26, 2018, the New York Times published another front
                   17 page story on Plaintiff Broidy that again acknowledged that it relied on
                   18 “[h]undreds of pages of Mr. Broidy’s emails, proposals and contracts”
                   19 received from “an anonymous group critical of Mr. Broidy’s advocacy of
                   20 American foreign policies in the Middle East.”
                   21         125. Media outlets in the United States and abroad continue to publish
                   22 – and to threaten to publish – materials stolen from Plaintiffs. Plaintiffs
                   23 continue to receive numerous press inquiries concerning such materials.
                   24         126. On information and belief, the State of Qatar, acting through the
                   25 Agent Defendants, was responsible for disseminating the emails and
                   26 documents stolen from Plaintiffs’ California-based email accounts and
                   27 servers.
                   28                                       -- 45 --             Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 46 of 70 Page ID #:479




                     1         127. On March 19, 2018, Plaintiffs, through counsel, formally
                     2 requested that the State of Qatar take appropriate action to halt the attacks on
                     3 Plaintiffs’ emails, documents, and data, to stop Defendants from
                     4 disseminating Plaintiffs’ emails, documents, and data, and/or to assist
                     5 Plaintiffs in halting dissemination if the hack had been conducted by a rogue
                     6 agent of the State of Qatar. However, to date, no response has been received
                     7 to that letter.
L L P




                     8         128. On information and belief, the Qatari Defendants, the GRA
F L E X N E R




                     9 Defendants and the Agent Defendants, while in the United States, conspired to
                   10 unlawfully access Plaintiffs’ private communications, documents, trade
                   11 secrets and intellectual property located in California, and to disseminate that
S C H I L L E R




                   12 information to the media as retribution for Plaintiff Broidy’s public and
                   13 private criticisms of Defendants State of Qatar and Muzin, including his
                   14 direct criticisms of the State of Qatar to the President of the United States.
                   15          129. Upon information and belief, the Qatari Defendants, the GRA
B O I E S




                   16 Defendants and the Agent Defendants also carried out that conspiracy and
                   17 unlawfully accessed Plaintiffs’ private communications, documents, trade
                   18 secrets and intellectual property located in California, and further engaged in
                   19 distribution of that information to media outlets in both the United States and
                   20 abroad. Upon information and belief, many of the instances of unlawful
                   21 distribution of illegally obtained took place within the United States.
                   22          130. The actions of the Qatari Defendants, the GRA Defendants and
                   23 the Agent Defendants as alleged herein were specifically proscribed by law
                   24 and were not matters left to the discretion, choice or judgment of a sovereign
                   25 state.
                   26
                   27
                   28                                       -- 46 --             Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 47 of 70 Page ID #:480



                               B. Defendants Muzin and Stonington Implicated Themselves With
                     1            Respect To The Dissemination Of Materials Unlawfully
                                  Obtained From Plaintiffs’ Email Accounts And Servers
                     2
                               131. Upon information and belief, on January 28, 2018, prior to the
                     3
                         first public disclosure in the United States of materials stolen from Plaintiffs,
                     4
                         Ben Wieder, a reporter at McClatchy, a Washington D.C. publication focused
                     5
                         on politics, emailed Defendant Muzin and commented to Defendant Muzin
                     6
                         that it was “time to rock.”
                     7
L L P




                               132. Weider’s article, “GOP Leans on Rainmaker who Courts
                     8
                         Controversy on Two Continents,” which appeared in McClatchy on February
F L E X N E R




                     9
                         7, 2018, discussed Plaintiff Broidy’s political activities in the United States
                   10
                         and his business interests in Romania. The article did not mention either of
                   11
                         Muzin’s clients at the time (Qatar and Albania). Indeed, the article did not
S C H I L L E R




                   12
                         mention the Middle East at all. There is no apparent connection between
                   13
                         Wieder’s January 28th remark to Muzin (that it was “time to rock”) and the
                   14
                         February 7th article.
                   15
B O I E S




                               133. On February 27, 2018, Defendant Muzin demonstrated further
                   16
                         foreknowledge of press reports about Plaintiff Broidy based on illegally
                   17
                         obtained information when he informed Mowbray that there were “reporters
                   18
                         circulating around” to focus on issues relating to Plaintiff Broidy, the Middle
                   19
                         East and George Nader. (In that same conversation, Defendant Muzin also
                   20
                         referred to “all the shit” that he believed Plaintiff Broidy and Mowbray had
                   21
                         “done to” him.)
                   22
                               134. The first published report of any alleged connection between
                   23
                         Nader and Plaintiff Broidy did not occur until March 3, 2018. Unless
                   24
                         Defendant Muzin possessed or knew about documents and information
                   25
                         contained in documents unlawfully obtained from Plaintiffs’ servers, Muzin
                   26
                         would not have been a position to know about the particular issues relating to
                   27
                   28                                           -- 47 --             Case No. 18-cv-02421-JFW
                                                       FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 48 of 70 Page ID #:481




                     1 Plaintiff Broidy, the Middle East and Nader that were about to become the
                     2 focus of media attention.
                     3        135. On March 5, 2018, Defendant Muzin informed Mowbray that
                     4 there was “more stuff coming” from the New York Times.
                     5        136. In the same meeting with Mowbray, Defendant Muzin discussed
                     6 meetings he had with his client the State of Qatar while serving as a registered
                     7 agent of Qatar. Muzin told Mowbray: “Broidy’s name comes up in Embassy
L L P




                     8 meetings often” and “I definitely identified him as somebody who, was not,
F L E X N E R




                     9 didn’t like them too much.” Muzin further acknowledged that everyone he
                   10 “fingered” was “in danger.” He warned Mowbray that Mowbray and Plaintiff
                   11 Broidy needed “to be very careful,” that the State of Qatar is “going after
S C H I L L E R




                   12 you,” and that “Honestly, I know they’re after you and Broidy.”
                   13         137. In the same meeting, when Mowbray accused Defendant Muzin
                   14 of targeting Plaintiff Broidy for the State of Qatar and assisting in the hacks
                   15 on Plaintiffs and attempted hacks on Mowbray, Muzin responded “I was
B O I E S




                   16 doing my job.” Somewhat belatedly, Muzin stated that he realized that he
                   17 needed “to be a little more careful” when he spoke to Mowbray.
                   18         138. On March 22, 2018, as foretold by Defendant Muzin on March
                   19 5th, the New York Times published a front page article noting that an
                   20 “anonymous group critical of Mr. Broidy’s advocacy of American foreign
                   21 policies in the Middle East” has been distributing “documents, which included
                   22 emails, business proposals and contracts,” supposedly belonging to Plaintiffs.
                   23 On March 23, 2018, Bloomberg published an article about Plaintiff Broidy
                   24 and noted that it had “received two separate documents this week purporting
                   25 to be versions” of documents belonging to Plaintiff Broidy. On March 26,
                   26 2018, the New York Times published another front page story on Plaintiff
                   27 Broidy that again acknowledged that it relied on “[h]undreds of pages of Mr.
                   28                                       -- 48 --             Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 49 of 70 Page ID #:482




                     1 Broidy’s emails, proposals and contracts” received from “an anonymous
                     2 group critical of Mr. Broidy’s advocacy of American foreign policies in the
                     3 Middle East.”
                     4        139. The actions of the Agent Defendants, the GRA Defendants and
                     5 Defendants Al Thani and Al-Rumaihi described herein are not subject to
                     6 derivative sovereign immunity because, among other things, the State of Qatar
                     7 is not entitled to sovereign immunity. In addition, although the actions of the
L L P




                     8 Agent Defendants, the GRA Defendants and Defendants Al Thani and Al-
F L E X N E R




                     9 Rumaihi originated in a conspiracy with the State of Qatar, upon information
                   10 and belief, the State of Qatar left to the Agent Defendants, the GRA
                   11 Defendants and Defendants Al Thani and Al-Rumaihi discretion and choice as
S C H I L L E R




                   12 to the manner in which they would carry out their parts of the unlawful
                   13 conspiracy. As such, for these and other reasons, they are not entitled to
                   14 derivative sovereign immunity for their conduct in furtherance of the
                   15 conspiracy.
B O I E S




                   16                              CAUSES OF ACTION
                   17              FOR A FIRST CAUSE OF ACTION AGAINST ALL
                                                 DEFENDANTS
                   18
                                              Computer Fraud and Abuse Act
                   19                        18 U.S.C. §§ 1030(a)(2)(C) & (a)(5)
                   20         140. Plaintiffs incorporate and adopt by reference the allegations
                   21 contained in each and every preceding paragraph of this First Amended
                   22 Complaint.
                   23         141. On information and belief, Defendant the State of Qatar, by itself
                   24 and/or through the Agent Defendants and the GRA Defendants, accessed or
                   25 caused to be accessed Plaintiffs’ servers, and emails and documents physically
                   26 located on those servers, at BCM’s offices in Los Angeles, California, as well
                   27 as Google servers located in California, specifically by accessing or causing to
                   28                                       -- 49 --            Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 50 of 70 Page ID #:483




                     1 be accessed accounts associated with Plaintiff Broidy and other BCM
                     2 employees.
                     3        142. Said Defendants first compromised Rosenzweig’s personal email
                     4 account by a targeted spearphishing email in December 2017, and thereafter,
                     5 beginning on or about January 16, 2018, and without authorization, accessed
                     6 BCM’s servers, and emails and documents physically located on those
                     7 servers, including the accounts Plaintiff Broidy and other BCM employees.
L L P




                     8 Defendants acted with knowledge that they were accessing these accounts
F L E X N E R




                     9 without Plaintiffs’ authorization.
                   10         143. Defendants engaged in deliberate spearphishing attacks on
                   11 Rosenzweig, Mowbray and Plaintiff Broidy’s Executive Assistant (as well as
S C H I L L E R




                   12 attempted spearphishing attacks on Mowbray) and used information gained
                   13 from the attacks on Rosenzweig and Plaintiff Broidy’s Executive Assistant to
                   14 obtain unauthorized access to Plaintiffs’ servers, and emails and documents
                   15 physically located on those servers located in Los Angeles, California.
B O I E S




                   16 Defendants also implemented identifiable obfuscation techniques to engage in
                   17 ultimately unsuccessful efforts to hide the origin of their spearphishing attacks
                   18 and unauthorized access to Plaintiffs’ servers, and emails and documents
                   19 physically located on those servers and the servers of Google.
                   20         144. On information and belief, by engaging in this conduct,
                   21 Defendants accessed “protected computers,” defined by 18 U.S.C.
                   22 § 1030(e)(2)(B) as computers “used in or affecting interstate or foreign
                   23 commerce or communication.”
                   24         145. Upon information and belief, as a direct result of the actions of
                   25 Defendants, Plaintiffs suffered damage, including harm to the integrity or
                   26 availability of their California-based servers, and emails and documents
                   27 physically located on those servers.
                   28                                        -- 50 --           Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 51 of 70 Page ID #:484




                     1         146. On information and belief, as a direct result of the actions of
                     2 Defendants, Plaintiffs also suffered loss, including but not limited to the
                     3 investigation costs associated with identifying the cyber-attacks and repairing
                     4 the integrity of Plaintiffs’ servers after the attacks, including by hiring forensic
                     5 investigators and data security experts, and attorneys, among other losses, in
                     6 an amount to be proven at trial, but in any event, in excess of $5,000 and,
                     7 together with the other alleged damages, in excess of $75,000, exclusive of
L L P




                     8 interest and costs.
F L E X N E R




                     9         147. Upon information and belief, Defendants intentionally caused
                   10 such damage to Plaintiffs.
                   11          148. Defendants’ conduct has caused, and will continue to cause
S C H I L L E R




                   12 Plaintiffs irreparable injury, including reputational harm, loss of goodwill, an
                   13 increased risk of further theft, and an increased risk of harassment. Such
                   14 injury cannot be compensated by monetary damages. Plaintiffs accordingly
                   15 seek an injunction prohibiting Defendants from engaging in the conduct
B O I E S




                   16 described in the Cause of Action.
                   17          149. Plaintiffs further seek a declaration that Defendants’ conduct as
                   18 described in this First Amended Complaint is a violation of this Cause of
                   19 Action.
                   20             FOR A SECOND CAUSE OF ACTION AGAINST ALL
                                                DEFENDANTS
                   21
                             California Comprehensive Computer Data Access and Fraud Act
                   22                            Cal. Pen. Code § 502
                   23          150. Plaintiffs incorporate and adopt by reference the allegations
                   24 contained in each and every preceding paragraph of this First Amended
                   25 Complaint.
                   26          151. On information and belief, Defendant the State of Qatar, acting
                   27 by itself and/or through the Agent Defendants, violated § 502(c)(2) by
                   28                                        -- 51 --             Case No. 18-cv-02421-JFW
                                                    FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 52 of 70 Page ID #:485




                     1 knowingly accessing and without permission taking and making use of
                     2 programs, data, and files from Plaintiffs’ and Google’s computers, computer
                     3 systems or computer networks, all of which were located in California.
                     4        152. On information and belief, Defendants have violated § 502(c)(4)
                     5 by knowingly accessing and without permission altering Plaintiffs’ data,
                     6 which resided in Plaintiffs’ and Google’s computers, computer systems or
                     7 computer networks, all of which were located in California.
L L P




                     8        153. On information and belief, Defendants have violated § 502(c)(6)
F L E X N E R




                     9 by knowingly and without permission providing or assisting in providing, a
                   10 means of accessing Plaintiffs’ and Google’s computers, computer systems or
                   11 computer networks, all of which were located in California.
S C H I L L E R




                   12         154. On information and belief, Defendants have violated § 502(c)(7)
                   13 by knowingly and without permission accessing, or causing to be accessed,
                   14 Plaintiffs’ and Google’s computers, computer systems or computer networks,
                   15 all of which were located in California.
B O I E S




                   16         155. On information and belief, Defendants have violated § 502(c)(9)
                   17 by knowingly and without permission using the Internet domain name or
                   18 profile of another individual in connection with the sending of one or more
                   19 email messages and thereby damaging Plaintiffs’ and Google’s computers,
                   20 computer systems or computer networks, all of which were located in Los
                   21 Angeles, California.
                   22         156. On information and belief, Defendants knowingly and unlawfully
                   23 accessed or caused to be accessed computers, computer systems or computer
                   24 networks at Plaintiff BCM and Google, all of which were located in
                   25 California. Defendants knew that at the time that they did not have the
                   26 authorization to take such action. This knowledge is demonstrated by
                   27 Defendants’ use of spearphishing attacks and attempted spearphishing attacks,
                   28                                      -- 52 --             Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 53 of 70 Page ID #:486




                     1 as well as identifiable obfuscation techniques in an attempt to hide the origin
                     2 of their cyber-attacks.
                     3        157. On information and belief, Defendants engaged in these actions
                     4 as part of a targeted attack on Plaintiff Broidy, who is an outspoken critic of
                     5 the Qatari government.
                     6        158. On information and belief, as a direct and proximate result of
                     7 Defendants’ unlawful conduct, Plaintiffs have been damaged in an amount to
L L P




                     8 be proven at trial, but in any event, in excess of $75,000 exclusive of interest
F L E X N E R




                     9 and costs, including but not limited to the investigation costs associated with
                   10 identifying the cyber-attacks; verifying the integrity of the computers,
                   11 computer systems or computer networks, computer programs and/or computer
S C H I L L E R




                   12 data, and/or data; and repairing the integrity of Plaintiffs’ computer systems
                   13 after the attack, including by hiring forensic investigators and data security
                   14 experts. Plaintiffs are also entitled to recover their attorneys’ fees pursuant to
                   15 § 502(e).
B O I E S




                   16         159. Additionally, Defendants’ actions were willful and malicious,
                   17 such that Plaintiffs are also entitled to punitive damages under § 502(e)(4).
                   18         160. Defendants’ conduct has caused, and will continue to cause
                   19 Plaintiffs irreparable injury, including reputational harm, loss of goodwill, an
                   20 increased risk of further theft, and an increased risk of harassment. Such
                   21 injury cannot be compensated by monetary damages. Plaintiffs accordingly
                   22 seek an injunction prohibiting Defendants from engaging in the conduct
                   23 described in the Cause of Action.
                   24         161. Plaintiffs further seek a declaration that Defendants’ conduct as
                   25 described in this First Amended Complaint is a violation of this Cause of
                   26 Action.
                   27
                   28                                       -- 53 --             Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 54 of 70 Page ID #:487



                                     FOR A THIRD CAUSE OF ACTION AGAINST ALL
                     1                             DEFENDANTS
                     2                     Receipt and Possession of Stolen Property
                                             in Violation of Cal. Pen. Code § 496
                     3
                               162. Plaintiffs incorporate and adopt by reference the allegations
                     4
                         contained in each and every preceding paragraph of this First Amended
                     5
                         Complaint.
                     6
                               163. On information and belief, Defendant the State of Qatar, acting
                     7
L L P




                         by itself and/or through the Agent Defendants, received property, including
                     8
                         private communications, documents, trade secrets and intellectual property
F L E X N E R




                     9
                         housed on Plaintiffs’ and Google’s servers, and in emails and documents
                   10
                         physically located on those servers, all of which were located in California,
                   11
                         and were stolen from Plaintiffs in California or otherwise obtained from
S C H I L L E R




                   12
                         Plaintiffs in California in a manner that constitutes theft.
                   13
                               164. Upon information and belief, in at least some instances,
                   14
                         Defendants were in the United States when they received or possessed the
                   15
B O I E S




                         unlawfully obtained information.
                   16
                               165. Upon information and belief, at least some instances of the
                   17
                         unlawful receipt and possession of Plaintiffs stolen information occurred in
                   18
                         the United States.
                   19
                               166. On information and belief, as a result of Defendants’ actions,
                   20
                         Plaintiffs have been damaged in an amount to be proven at trial, but in any
                   21
                         event, in excess of $75,000, exclusive of interest and costs, and are entitled to
                   22
                         treble damages, the costs of bringing this suit, and attorneys’ fees under
                   23
                         § 496(c).
                   24
                               167. Defendants’ conduct has caused, and will continue to cause
                   25
                         Plaintiffs irreparable injury, including reputational harm, loss of goodwill, an
                   26
                         increased risk of further theft, and an increased risk of harassment. Such
                   27
                   28                                          -- 54 --            Case No. 18-cv-02421-JFW
                                                     FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 55 of 70 Page ID #:488




                     1 injury cannot be compensated by monetary damages. Plaintiffs accordingly
                     2 seek an injunction prohibiting Defendants from engaging in the conduct
                     3 described in the Cause of Action.
                     4        168. Plaintiffs further seek a declaration that Defendants’ conduct as
                     5 described in this First Amended Complaint is a violation of this Cause of
                     6 Action.
                     7           FOR A FOURTH CAUSE OF ACTION AGAINST ALL
L L P




                                               DEFENDANTS
                     8
                                              Invasion of Privacy by Intrusion
F L E X N E R




                     9                                Upon Seclusion
                   10         169. Plaintiffs incorporate and adopt by reference the allegations
                   11 contained in each and every preceding paragraph of this First Amended
S C H I L L E R




                   12 Complaint.
                   13         170. Plaintiffs have a legally protected privacy interest in their
                   14 personal information, including in information contained on Plaintiffs’ and
                   15 Google’s servers, and in emails and documents physically located on those
B O I E S




                   16 servers, all of which were located in California, and had a reasonable
                   17 expectation that their information would remain private. Plaintiffs’ accounts
                   18 were password protected, and at no time did Plaintiffs provide those
                   19 passwords, or the contents of their emails, to the public.
                   20         171. On information and belief, Defendant the State of Qatar, acting
                   21 by itself and/or through the Agent Defendants, hacked, stole, doctored, and
                   22 disseminated to others the personal and private information of Plaintiffs.
                   23 Defendants clearly did so without permission and with deliberate intent to
                   24 access and obtain Plaintiffs’ personal and private information. At no point did
                   25 Plaintiffs authorize Defendants to hack, steal, doctor, or disseminate their
                   26 personal and private information. Upon information and belief, at least some
                   27
                   28                                       -- 55 --            Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 56 of 70 Page ID #:489




                     1 of the unlawful disseminations of Plaintiffs’ personal information occurred
                     2 completely within the United States
                     3        172. On information and belief, Defendants’ intentional intrusion
                     4 upon Plaintiffs’ seclusion was highly offensive to Plaintiffs and would be
                     5 unjustifiable and highly offensive to an ordinary, reasonable person.
                     6        173. The public disclosure of Plaintiffs’ personal information has
                     7 caused, and will continue to cause, Plaintiffs injury, including reputational
L L P




                     8 harm, an increased risk of further theft, and an increased risk of harassment.
F L E X N E R




                     9        174. Plaintiffs will continue to suffer this injury as long as their
                   10 personal information is available to Defendants and, subsequently, to media
                   11 organizations and the world at large.
S C H I L L E R




                   12         175. The public disclosure of Plaintiffs’ personal information has also
                   13 caused them to suffer monetary damages, at an amount to be proven at trial,
                   14 but in any event, in excess of $75,000, exclusive of interest and costs.
                   15 Because Defendants’ actions are intolerable in a civilized community,
B O I E S




                   16 Plaintiffs also seek punitive damages.
                   17         176. Defendants’ conduct has caused, and will continue to cause
                   18 Plaintiffs irreparable injury, including reputational harm, loss of goodwill, an
                   19 increased risk of further theft, and an increased risk of harassment. Such
                   20 injury cannot be compensated by monetary damages. Plaintiffs accordingly
                   21 seek an injunction prohibiting Defendants from engaging in the conduct
                   22 described in the Cause of Action.
                   23         177. Plaintiffs further seek a declaration that Defendants’ conduct as
                   24 described in this First Amended Complaint is a violation of this Cause of
                   25 Action.
                   26
                   27
                   28                                       -- 56 --             Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 57 of 70 Page ID #:490



                                    FOR A FIFTH CAUSE OF ACTION AGAINST ALL
                     1                            DEFENDANTS
                     2                                     Conversion
                     3
                               178. Plaintiffs incorporate and adopt by reference the allegations
                     4
                         contained in each and every preceding paragraph of this First Amended
                     5
                         Complaint.
                     6
                               179. Plaintiffs had ownership of and the right to possess their
                     7
L L P




                         property, including private communications, documents, trade secrets and
                     8
                         intellectual property, all of which were located in California.
F L E X N E R




                     9
                               180. Defendant the State of Qatar, acting by itself and/or through the
                   10
                         Agent Defendants, converted or disposed of Plaintiffs’ property including the
                   11
                         rights to that property, by unlawfully accessing, or at a minimum receiving
S C H I L L E R




                   12
                         that property, including private communications, documents, trade secrets and
                   13
                         intellectual property with knowledge that it had been unlawfully taken, and
                   14
                         disseminating them to the media in the United States and abroad.
                   15
B O I E S




                               181. Upon information and belief, some instances of unlawful access
                   16
                         and theft of Plaintiffs’ property occurred completely within the United States.
                   17
                               182. Upon information and belief, at least some of the unlawful
                   18
                         receipt and dissemination of Plaintiffs’ personal information occurred
                   19
                         completely within the United States.
                   20
                               183. Plaintiffs did not provide permission to access, receive or
                   21
                         disseminate their exclusive personal and private information.
                   22
                               184. The public disclosure of Plaintiffs’ personal information has also
                   23
                         caused them to suffer monetary damages, at an amount to be proven at trial,
                   24
                         but in any event, in excess of $75,000, exclusive of interest and costs.
                   25
                               185. Additionally, Defendants’ actions were willful and malicious,
                   26
                         such that Plaintiffs are also entitled to punitive damages.
                   27
                   28                                         -- 57 --            Case No. 18-cv-02421-JFW
                                                    FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 58 of 70 Page ID #:491




                     1         186. Defendants’ conduct has caused, and will continue to cause
                     2 Plaintiffs irreparable injury, including reputational harm, loss of goodwill, an
                     3 increased risk of further theft, and an increased risk of harassment. Such
                     4 injury cannot be compensated by monetary damages. Plaintiffs accordingly
                     5 seek an injunction prohibiting Defendants from engaging in the conduct
                     6 described in the Cause of Action.
                     7         187. Plaintiffs further seek a declaration that Defendants’ conduct as
L L P




                     8 described in this First Amended Complaint is a violation of this Cause of
F L E X N E R




                     9 Action.
                   10               FOR A SIXTH CAUSE OF ACTION AGAINST ALL
                                                  DEFENDANTS
                   11
                                                 Stored Communications Act
S C H I L L E R




                   12                                18 U.S.C. §§ 2701-12
                   13
                               188. Plaintiffs incorporate and adopt by reference the allegations
                   14
                         contained in each and every preceding paragraph of this First Amended
                   15
B O I E S




                         Complaint.
                   16
                               189. Plaintiffs are “persons” within the meaning of 18 U.S.C.
                   17
                         §§ 2510(6) and 2707(a).
                   18
                               190. Defendants willfully and intentionally accessed without
                   19
                         authorization a facility through which an electronic communication service is
                   20
                         provided, namely, BCM’s computer systems, including its email servers, as
                   21
                         well as Google’s servers, thereby obtaining access to wire or electronic
                   22
                         communications while they were in electronic storage in such systems, in
                   23
                         violation of 18 U.S.C. § 2701(a).
                   24
                               191. As a result of Defendants’ willful and intentional violations,
                   25
                         Plaintiffs have suffered damages and, as provided for in 18 U.S.C. § 2707, are
                   26
                         entitled to an award of the greater of the actual damages suffered or the
                   27
                   28                                        -- 58 --             Case No. 18-cv-02421-JFW
                                                    FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 59 of 70 Page ID #:492




                     1 statutory damages, punitive damages, attorneys’ fees and other costs of this
                     2 action, and appropriate equitable relief.
                     3        192. Defendants’ conduct has caused, and will continue to cause
                     4 Plaintiffs irreparable injury, including reputational harm, loss of goodwill, an
                     5 increased risk of further theft, and an increased risk of harassment. Such
                     6 injury cannot be compensated by monetary damages. Plaintiffs accordingly
                     7 seek an injunction prohibiting Defendants from engaging in the conduct
L L P




                     8 described in the Cause of Action.
F L E X N E R




                     9        193. Plaintiffs further seek a declaration that Defendants’ conduct as
                   10 described in this First Amended Complaint is a violation of this Cause of
                   11 Action.
S C H I L L E R




                   12            FOR A SEVENTH CAUSE OF ACTION AGAINST ALL
                                                DEFENDANTS
                   13
                                             Digital Millennium Copyright Act
                   14                             17 U.S.C. § 1201 et seq.
                   15         194. Plaintiffs incorporate and adopt by reference the allegations
B O I E S




                   16 contained in each and every preceding paragraph of this First Amended
                   17 Complaint.
                   18         195. Plaintiffs’ computer networks and files contained information
                   19 subject to protection under the copyright laws of the United States that were
                   20 illegally accessed by Defendants without authorization. These materials
                   21 included, but were not limited to, presentations, proprietary business plans and
                   22 proposals, and strategic correspondence.
                   23         196. Access to the copyrighted material contained on Plaintiffs’
                   24 computer networks and email accounts was controlled by technological
                   25 measures, including firewalls, antivirus software, and measures restricting
                   26 access to users with valid credentials and passwords.
                   27
                   28                                       -- 59 --             Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 60 of 70 Page ID #:493




                     1        197. Defendants conducted a targeted attack to circumvent these
                     2 technological measures by stealing usernames and passwords from authorized
                     3 users. Defendants sent spearphishing emails containing links to malicious
                     4 websites designed to trick users into providing usernames and passwords.
                     5 Defendants used the information they obtained from their spearphishing
                     6 attacks to gain unauthorized access to Plaintiffs’ computer networks and email
                     7 accounts.
L L P




                     8        198. Defendants’ conduct caused Plaintiffs significant damages,
F L E X N E R




                     9 including, but not limited to, damage resulting from harm to Plaintiffs’
                   10 computers, loss in the value of Plaintiffs’ trade secrets and proprietary
                   11 business information, and harm to the business.
S C H I L L E R




                   12         199. As a result, Plaintiffs are entitled to the greater of their actual
                   13 damages or statutory damages as provided by 17 U.S.C. § 1203, in an amount
                   14 to be proven at trial. Plaintiffs are further entitled to attorneys’ fees and costs
                   15 as provided by 17 U.S.C. § 1203.
B O I E S




                   16         200. Defendants’ conduct has caused, and will continue to cause
                   17 Plaintiffs irreparable injury, including reputational harm, loss of goodwill, an
                   18 increased risk of further theft, and an increased risk of harassment. Such
                   19 injury cannot be compensated by monetary damages. Plaintiffs accordingly
                   20 seek an injunction prohibiting Defendants from engaging in the conduct
                   21 described in the Cause of Action.
                   22         201. Plaintiffs further seek a declaration that Defendants’ conduct as
                   23 described in this First Amended Complaint is a violation of this Cause of
                   24 Action.
                   25           FOR AN EIGHTH CAUSE OF ACTION AGAINST ALL
                                               DEFENDANTS
                   26
                                           California Uniform Trade Secrets Act
                   27                           Cal. Civ. Code § 3426 et seq.
                   28                                        -- 60 --            Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 61 of 70 Page ID #:494




                     1        202. Plaintiffs incorporate and adopt by reference the allegations
                     2 contained in each and every preceding paragraph of this First Amended
                     3 Complaint.
                     4        203. The California Uniform Trade Secrets Act (“CUTSA”), Cal. Civ.
                     5 Code § 3426 et seq., prohibits the misappropriation of any “trade secret.”
                     6        204. Defendants misappropriated a “trade secret” as defined by the
                     7 CUTSA to include “information, including a formula, pattern, compilation,
L L P




                     8 program, device, method, technique, or process, that: (1) Derives independent
F L E X N E R




                     9 economic value, actual or potential, from not being generally known to the
                   10 public or to other persons who can obtain economic value from its disclosure
                   11 or use; and (2) Is the subject of efforts that are reasonable under the
S C H I L L E R




                   12 circumstances to maintain its secrecy.” Cal. Civ. Code. § 3426.1(d).
                   13         205.   The BCM server stored trade secrets including but not limited to
                   14 highly confidential business plans and proposals, research supporting those
                   15 plans and proposals including costs and service projections, information
B O I E S




                   16 concerning business strategies and opportunities, and contacts for important
                   17 business relationships. These trade secrets are of immense value to Plaintiffs.
                   18         206.   Plaintiffs take and have taken reasonable measures to keep this
                   19 information secret. For example, Plaintiffs have always maintained their
                   20 information on secured servers that are protected by passwords, firewalls, and
                   21 antivirus software.
                   22         207. Plaintiffs’ trade secrets derive independent actual and potential
                   23 economic value from not being generally known or available to the public or
                   24 other persons who can obtain economic value from their disclosure or use.
                   25         208. Plaintiffs’ trade secrets have significant value, resulting from
                   26 significant investment of time and resources.
                   27
                   28                                       -- 61 --            Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 62 of 70 Page ID #:495




                     1        209. Plaintiffs have made, and continue to make, efforts that are
                     2 reasonable under the circumstances to maintain the secrecy of their trade
                     3 secrets.
                     4        210. Defendants improperly disclosed Plaintiffs’ trade secrets without
                     5 Plaintiffs’ consent when they widely disseminated those trade secrets to media
                     6 organizations for publication and at the time of such disclosure, knew or had
                     7 reason to know that the information disclosed consisted of trade secrets.
L L P




                     8        211. As a direct consequence of Defendants’ misappropriation,
F L E X N E R




                     9 Plaintiffs have suffered damages, which include, but are not limited to,
                   10 damage resulting from harm to Plaintiffs’ computers, servers, and accounts,
                   11 loss in the value of Plaintiffs’ trade secrets and business information, and
S C H I L L E R




                   12 harm to Plaintiffs’ business, in an amount to be proven at trial.
                   13         212. As a direct consequence of Defendants’ unlawful
                   14 misappropriation, Defendants have unjustly benefited from their possession of
                   15 Plaintiffs’ trade secrets.
B O I E S




                   16         213. In misappropriating Plaintiffs’ trade secrets, Defendants acted
                   17 willfully and maliciously. Plaintiffs are thus entitled to exemplary damages
                   18 under Section 3426.3(c) of the Civil Code. Plaintiffs are also entitled to
                   19 reasonable attorneys’ fees and costs under Section 3426.4 of the Civil Code.
                   20         214. Defendants’ conduct has caused, and will continue to cause
                   21 Plaintiffs irreparable injury, including reputational harm, loss of goodwill, an
                   22 increased risk of further theft, and an increased risk of harassment. Such
                   23 injury cannot be compensated by monetary damages. Plaintiffs accordingly
                   24 seek an injunction prohibiting Defendants from engaging in the conduct
                   25 described in the Cause of Action.
                   26
                   27
                   28                                       -- 62 --             Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 63 of 70 Page ID #:496




                     1        215. Plaintiffs further seek a declaration that Defendants’ conduct as
                     2 described in this First Amended Complaint is a violation of this Cause of
                     3 Action.
                     4            FOR A NINTH CAUSE OF ACTION AGAINST ALL
                                                DEFENDANTS
                     5
                           Misappropriation of Trade Secrets In Violation of the Defend Trade
                     6                                Secrets Act
                     7                             18 U.S.C. § 1836 et seq.
L L P




                     8        216. Plaintiffs incorporate and adopt by reference the allegations
F L E X N E R




                     9 contained in each and every preceding paragraph of this First Amended
                   10 Complaint.
                   11         217. The materials that Defendants stole from Plaintiffs’ and Google’s
S C H I L L E R




                   12 computer systems include trade secrets within the meaning of 18 U.S.C. §
                   13 1839.
                   14         218. The BCM server stored trade secrets including but not limited to
                   15 highly confidential business plans and proposals, research supporting those
B O I E S




                   16 plans and proposals including costs and service projections, information
                   17 concerning business strategies and opportunities, and contacts for important
                   18 business relationships. These trade secrets are of immense value to Plaintiffs.
                   19         219. Plaintiffs take and have taken reasonable measures to keep this
                   20 information secret. For example, Plaintiffs have always maintained their
                   21 information on secured servers that are protected by passwords, firewalls, and
                   22 antivirus software.
                   23         220. Plaintiffs’ trade secrets were related to products or services used
                   24 in, or intended for use in, interstate or foreign commerce.
                   25         221. Defendants acquired Plaintiffs’ trade secrets knowing or having
                   26 reason to know that the trade secrets were acquired by improper means.
                   27 Defendants also disclosed, or aided in the disclosure of, the trade secrets on
                   28                                      -- 63 --             Case No. 18-cv-02421-JFW
                                                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 64 of 70 Page ID #:497




                     1 multiple occasions by sharing those trade secrets with media organizations, as
                     2 discussed herein, while knowing or having reason to know that the trade
                     3 secrets were acquired by improper means.
                     4        222. As a direct consequence of Defendants’ misappropriation,
                     5 Plaintiffs have suffered damages, which include, but are not limited to,
                     6 damage resulting from harm to Plaintiffs’ computers and servers, loss in the
                     7 value of Plaintiffs’ trade secrets and business information, and harm to
L L P




                     8 Plaintiffs’ business, in an amount to be proven at trial.
F L E X N E R




                     9        223. Furthermore, as a direct consequence of Defendants’ unlawful
                   10 misappropriation, Defendants have unjustly benefited from their possession of
                   11 Plaintiffs’ trade secrets.
S C H I L L E R




                   12         224. In misappropriating Plaintiffs’ trade secrets, Defendants acted
                   13 willfully and maliciously. Plaintiffs are thus entitled to exemplary damages
                   14 under 18 U.S.C. § 1836(b)(3).
                   15         225. In misappropriating Plaintiffs’ trade secrets, Defendants acted
B O I E S




                   16 willfully and maliciously. Plaintiffs are thus entitled to exemplary damages
                   17 and reasonable attorneys’ fees under 18 U.S.C. § 1836(b)(3).
                   18         226. Defendants’ conduct has caused, and will continue to cause
                   19 Plaintiffs irreparable injury, including reputational harm, loss of goodwill, an
                   20 increased risk of further theft, and an increased risk of harassment. Such
                   21 injury cannot be compensated by monetary damages. Plaintiffs accordingly
                   22 seek an injunction prohibiting Defendants from engaging in the conduct
                   23 described in the Cause of Action.
                   24         227. Plaintiffs further seek a declaration that Defendants’ conduct as
                   25 described in this First Amended Complaint is a violation of this Cause of
                   26 Action.
                   27
                   28                                        -- 64 --            Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 65 of 70 Page ID #:498



                                   FOR A TENTH CAUSE OF ACTION AGAINST ALL
                     1                          DEFENDANTS
                     2                                  Civil Conspiracy
                     3
                               228. Plaintiffs incorporate and adopt by reference the allegations
                     4
                         contained in each and every preceding paragraph of this First Amended
                     5
                         Complaint.
                     6
                               229. On information and belief, Defendants willfully, intentionally,
                     7
L L P




                         and knowingly agreed and conspired with each other and with others to
                     8
                         engage in the wrongful conduct alleged herein, including but not limited to
F L E X N E R




                     9
                                      a. Intentionally accessing Plaintiffs’ and Google’s servers, and
                   10
                                         emails and documents physically located on those servers
                   11
                                         accounts without authorization and then stealing and/or
S C H I L L E R




                   12
                                         doctoring Plaintiffs’ data and emails, in violation of the
                   13
                                         Computer Fraud and Abuse Act, 18 U.S.C. § 1030(a)(2)(C) &
                   14
                                         (a)(5);
                   15
B O I E S




                                      b. Knowingly accessing or causing to be accessed, and without
                   16
                                         permission taking, altering, and making use of Plaintiffs’ and
                   17
                                         Google’s programs, data, and files from Plaintiffs’ computers,
                   18
                                         computer systems or computer network, and/or knowingly
                   19
                                         and without permission providing or assisting in providing a
                   20
                                         means of accessing Plaintiffs’ and Google’s computers,
                   21
                                         computer systems or computer network, in violation of the
                   22
                                         California Comprehensive Computer Data Access and Fraud
                   23
                                         Act, Cal. Pen. Code § 502;
                   24
                                      c. Intentionally receiving stolen property, in violation of Cal.
                   25
                                         Pen. Code § 496;
                   26
                   27
                   28                                        -- 65 --             Case No. 18-cv-02421-JFW
                                                    FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 66 of 70 Page ID #:499




                     1              d. Invading Plaintiffs’ reasonable privacy interests and then
                     2                  publicly disseminating Plaintiffs’ private information in a
                     3                  manner that is highly offensive to a person of reasonable
                     4                  sensibilities;
                     5              e. Taking and converting Plaintiffs’ exclusive private and
                     6                  personal property without permission and with deliberate
                     7                  intent to access and obtain Plaintiffs’ personal and private
L L P




                     8                  information;
F L E X N E R




                     9              f. Willfully and intentionally accessing without authorization a
                   10                   facility through which an electronic communication service is
                   11                   provided, namely, BCM’s computer systems, including its
S C H I L L E R




                   12                   email servers, and thereby obtaining access to wire or
                   13                   electronic communications while they were in electronic
                   14                   storage in such systems, in violation of 18 U.S.C. § 2701(a);
                   15               g. Accessing copyrighted material contained on Plaintiffs’
B O I E S




                   16                   computer networks and email controlled by technological
                   17                   measures, in violation of 17 U.S.C. § 1201 et seq.; and/or
                   18         230. Misappropriating Plaintiffs’ trade secrets in violation of Cal Civ.
                   19 Code § 3426 et seq. and 18 U.S.C. § 1836 et seq. On information and belief,
                   20 Defendants performed the acts alleged pursuant to, and in furtherance of, their
                   21 agreement and/or furthered the conspiracy by cooperating, encouraging,
                   22 ratifying, and/or adopting the wrongful acts of others.
                   23         231. On information and belief, Defendants expressly or tacitly agreed
                   24 to, at the very least:
                   25               a. Devise and execute a scheme to access Plaintiffs’ computers,
                   26                   computer systems or computer network without permission,
                   27                   and to take, convert, alter, obtain, and use Plaintiffs’ property,
                   28                                        -- 66 --            Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 67 of 70 Page ID #:500




                     1                  including private communications, documents, trade secrets
                     2                  and intellectual property;
                     3               b. Transfer and then disseminate the stolen private data; and/or
                     4               c. Access, receive, and/or possess the stolen private information,
                     5                  all with the intent to harm Plaintiff Broidy, a private United
                     6                  States citizen residing in California.
                     7        232. On information and belief, Defendants, with full knowledge that
L L P




                     8 they were engaged in wrongful actions, deliberately accessed, received,
F L E X N E R




                     9 possessed, stored, and helped to disseminate Plaintiffs’ stolen property,
                   10 including private communications, documents, trade secrets and intellectual
                   11 property.
S C H I L L E R




                   12         233. On information and belief, Defendants also had meetings wherein
                   13 targeting Plaintiff Broidy was discussed.
                   14         234. On information and belief, Defendants’ agreement was both
                   15 explicit and tacit. In particular, those Agent Defendants who were registered
B O I E S




                   16 agents of the State of Qatar under FARA, as well as unregistered agents of the
                   17 State of Qatar, were incentivized to do the bidding of the State of Qatar and
                   18 engage in any acts that would further the overall scheme.
                   19         235. Upon information and belief, the conspiracy was agreed to within
                   20 the United States, and at least one step in furtherance of the conspiracy
                   21 occurred within the United States.
                   22         236. On information and belief, Plaintiffs have been injured and have
                   23 suffered monetary damages as a result of Defendants’ conspiratorial actions in
                   24 an amount to be proven at trial, but in any event, in excess of $75,000,
                   25 exclusive of interest and costs.
                   26         237. Defendants’ conduct has caused, and will continue to cause
                   27 Plaintiffs irreparable injury, including reputational harm, loss of goodwill, an
                   28                                       -- 67 --             Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 68 of 70 Page ID #:501




                     1 increased risk of further theft, and an increased risk of harassment. Such
                     2 injury cannot be compensated by monetary damages. Plaintiffs accordingly
                     3 seek an injunction prohibiting Defendants from engaging in the conduct
                     4 described in the Cause of Action.
                     5         238. Plaintiffs further seek a declaration that Defendants’ conduct as
                     6 described in this First Amended Complaint is a violation of this Cause of
                     7 Action.
L L P




                     8                            REQUEST FOR RELIEF
F L E X N E R




                     9
                               239. Plaintiffs repeat and re-allege the allegations contained in each
                   10
                         and every preceding paragraph of this Complaint.
                   11
                               240. Plaintiffs request that this Court order the following relief:
S C H I L L E R




                   12
                                        a. Grant judgment in favor of Plaintiffs and against
                   13
                                            Defendants;
                   14
                                        b. Declare that Defendants’ conduct constitutes violations of
                   15
B O I E S




                                            the statutes and common law cited herein;
                   16
                                        c. Grant all appropriate injunctive relief;
                   17
                                        d. Award Plaintiffs an appropriate amount in monetary
                   18
                                            damages as determined at trial, including pre- and post-
                   19
                                            judgment interest, and any treble damages to which
                   20
                                            Plaintiffs are entitled under Cal. Pen. Code § 496;
                   21
                                        e. Award Plaintiffs punitive damages under 18 U.S.C.
                   22
                                            § 2707, 18 U.S.C. § 1836(b)(3), Cal. Civ. Code
                   23
                                            § 3426.3(c), and Cal. Pen. Code § 502, as well as under
                   24
                                            Plaintiffs’ claims for invasion of privacy by intrusion upon
                   25
                                            seclusion, and conversion;
                   26
                   27
                   28                                        -- 68 --            Case No. 18-cv-02421-JFW
                                                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                  Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 69 of 70 Page ID #:502




                     1                f. Award Plaintiffs attorneys’ fees and the costs of bringing
                     2                   this action; and
                     3                g. Grant Plaintiffs such other relief as is just and appropriate.
                     4
                     5
                     6
                     7
L L P




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F L E X N E R




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S C H I L L E R




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B O I E S




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                   28                                       -- 69 --           Case No. 18-cv-02421-JFW
                                                 FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
      Case 2:18-cv-02421-JFW-E Document 47 Filed 05/24/18 Page 70 of 70 Page ID #:503



                                      JURY TRIAL DEMANDED
        1
                  Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a
        2
            trial by jury of all of the claims asserted in this Complaint so triable.
        3
        4
            Dated: May 24, 2018                 Respectfully submitted,
        5
        6                                       BOIES SCHIL ER FLEXNER LLP

CL      7
                                                By:
        8
        9                                              LEE S. WOLOSKY

       10                                       Counsel for Plaintiffs
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       28                                         -- 70 --            Case No. 18-cv-02421-JFW
                                        FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
